Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 1 of 67




          EXHIBIT D
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 2 of 67
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 3 of 67
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                                Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 4 of 67
       FI               D                                                                         O                                                          AL
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                                      AL Series Mission .......... .. . .... ..T....................................................................
               I.     LIV
                          D  E  N  Invit
                                    nv
                                   Invitational
                                                                                                              I  N                                                                                               5
                     FI
               II.N The Principal Objectives of LIV GOLF                            C      T     PO                                                                                                  I  AL6
                                                                                                                                                                                         ... ....T............
       TC   O                                                             PA
                                                                                               ............................................................... .. .....N
   I N                                                         I  M                                                                                                F      I DE
O              III. Definitions ..... ... .. ..A
                                             I  . .L ...................................................................... ...... .......O              .N
                                                                                                                                                    .. .............................................             6
                                         T                                                                                             T      C
                      3.1
                              I D ENDefined
                               Certain   D                 Terms ........................... .. . .......I.N
                                                                                                                   O            .................................................................. 6
                            F
                       N Other                                                                               P
                                       Defined Terms ............. ... . . ... ...T....................................................................                                      ... ... . ..T   . I8AL
                   O  3.2      O
                                                                                           A    C        .
                                                                                                                                                                                                     N
                                                                                                                                                                                                             ...

        I N TC                                                             I M      P
                                                                                                                                                                               F      I DE 9
T PO                                                         L                                                                                                   ON
               IV.    Governance      of   THE  E   LIV      Golf
                                                             Go
                                                             G           Invitational
                                                                           nv                         SERIES                 .....................     ..  ....  ....  .
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                      4.1      Statement
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                                                                                                                                  O        N
                                                                                                                                         Golf
                                                                                                                                         I           ................................................
                                                                                                                                                     .                                                           9
                      4.22
                             N   FI
                               Chairman,
                               Chairma
                               Chairm          CEO & Commissioner and Senior
                                                                                                            C     T        PM       Management ................................ 9
                                                                                                                                                                                                                   T IAL
                   T 4.3  O
                       C3 Governing Groups of thee Invitational                   nvitational   PA SSeries .............................................. ... .I....D..E. 10N                                    0
          O  I N      4.4                                   ...... .. L
                               Fiscal Year ...................                         I M
                                                                         ...........................................................................
                                                                         ........                                                                                  .. ..........    N
                                                                                                                                                                             . . .......    F
                                                                                                                                                                                      .....................13
     T P                                                    T    I A                                                                                                   C     O
AC                                          D                                                                                                           NT
                                                 ENof THE SERIES ......................... ...... ....O...................................................14
                                                                                                                                                    I
               V. Rules and               I
                                nd Regulations
                                   Regulation
                                   NF                                                                                           TP                                                                                          AL
                                O                                                                  .... .... ...A  ... C                                                                                     . 14 NTI
                      5.1
                             C Overview..................................................
                               Overv
                                                                                                            P            .....................................................................
                                                                                                                                                                                                                   E
                    I 5.2T General Overview of the
                      N                                                     e Se                 ..M
                                                                                                 I
                                                                                Series ....................................................................
                                                                                Ser                                                                                                                   ....F...ID
                                                                                                                                                                                        ... . . . ......
                                                                                                                                                                                      .....                    144
       C  T PO 5.3 Regular Tournaments                  mentsT               I AL                                                                                               .C       ON
     A
                                                      aments
                                                               N        .......................................................................
                                                                        ......
                                                                        .....                                                                                   .... ......
                                                                                                                                                                            T
                                                                                                                                                                       . . .......  ......................14
MP                                                 I DECh                                                                                            ... O    . IN
                      5.4      The Team
                                     eam Series
                                         N     F            Championship........................................ ....
                                                                                                                                       CT          P          ........................................15
                                                                                                                                                                                                                             TIA
                      5.5
                                T C
                               LIV G O
                                   Golf    Invitational
                                           Inv
                                           In                        Series schedule......                      ... . .. . A
                                                                                                                         P           .............................................................15
                                                                                                                                  .. ...
                                                                                                                                                                                                                        E  N
                      5.6 INSanctioning
                               Sa
                               S                 Organization; Official                   ficial World       IMGolf      G Ranking ................................. .. ... . 116FID
                T     O
                   P5.7                                                                 I AL                                                                                                         O      N16
            C                  Team Rosters................ .. . .....T........................................................................                                                 C
                                                                                                                                                                                NT
                      5                                                             .....
                                                                                    ....                                                                                    .. .......
                                                                                                                                                                                    .. ..........
                                                                                                                                                                                             ..............
  IMP
          A                                   tain ..... . I..D       EN                                                                           ... ........ ... O         I
                      5.8      Team Captain
                                                  N     F        . ...................................................................
                                                                                                                                                        T       P      ... ..............................
                                                                                                                                                 C............................................... 17
                                                                                                                                                                                                                17
                      5.9      Player
                                  yer Eligibility
                                 ayer
                                     T  CO ...........................................
                                                          ............................................................. ....... A
                                                                                                                              M        P    .... ...
                                                                                                                                                                                                                         IDEN
                      5.10
                            O   I
                         10 Player
                        .10       N    Rights                                                       ....
                                                                                                      ... .............    I
                                                                                                                           ..
                                                                                                                           .  .................................................................                18
                                                                                                                                                                                                                   N   F
                      T   P                                                                       I A      L                                                                                               C     O
               ACPlayer Obligations ................. ... .. D                  .E  ... N
                                                                                              T                                                                          .. .. . .... .I..N         T 20
       I M  P  VI.
               VI
                                                                        I   ... ...
                                                                                  . ....................................................................
                                                                                                                                                                            P     O            .............
                      6.1      Player Obligations
                                           bligattions              F
                                                            N....................................................................                             C
                                                                                                                                                . .. . ..........  . T..............................          20
                                                 C    O                                                                                          P      A
                                  O  I NT& Technical Details ........... .. .. . .. ....................................................................23
                                                                                                                                        IM                                                                              N   F ID
               VII. Event       P
                        vent Structures
                               Structur
                               Structu
                                                                                                              IA        L .....
                                                                                                                          ...                                                                                    3
                                                                                                                                                                                                                   CO
                      7.1CT The Order of Merit ................... ... . ...........................................................................
                      A                                                                           N
                                                                                              .........  T                                                                                 ... ... . ..N  .. 23T
            IMP 7.2 Prize Money andd PointNAlloca                                            E                                                                                                 OI
                                                                               FID for Regular Tournaments
                                                                            Allocation
                                                                            Allocat                                                                                nts .....T......
                                                                                                                                                                ents                    P
                                                                                                                                                                                   ......................23
                      7.3      Team Series           T     CO
                                                   Championship
                                        eries Champio                                   ...........................................................
                                                                                                                                                 ..............      AC
                                                                                                                                                         . .P...................................               27
                                              IN
                                        Oof Regular Tournaments............ .. I..A. ..L......................................................... I   M                                                                      NF
                      7.4
                                  T  P
                               Schedule
                               C Management Policy & Guidelines
                                                                                                                                       ...
                                                                                                                      T................................................................... ....333NT
                                                                                                                                                                                                              30
                                                                                                                                                                                                                        C  O
                      7.5 AEvent
                          P    Even
                               Eve
                                                                                                        E     N                                                                                                  I
                   IM                                                       ............ F . ID                                                                                          .. ..P            O
                                                                                   N                                                                                            ACT 34
                      7.6      Player Grant of Rights                ts .....................................................................................
                                                                          ..................                                                                                     ..... ...........
                                                                                                                                                                               .....                  ........ 33
                                                                                                                                                                                                               3
                      7.7                            ............T CO
                               Broadcast.............................................................................................
                                                    ...................                                                                                             .. P
                                                                                                                                                          .... ...............
                                                                                                                                                                 .........  .. ........................
                                                 O     I N                                                                                                      IM
                                       TP                                                                                                IA      L                                                                           CO
                                  A C                                                                                E      N       T                                                                                  N   T
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                                Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 5 of 67
       FI              D                                                                          O                                                                             AL
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   CO                                                                      P A                                                                    D      EN
                                                IM                                                                                  NF         I
                                 IA  L                                                                                 C     O
                  D   E    NT                                                                    O       I N     T
       O   NFI 7.8 Film, Media and                       nd OtherC
                                                                       A         Prop
                                                                                 Pro T
                                                                                 Property
                                                                                            P Rights .................................. .. ........                   . N...T          I  AL 34
                                                                                                                                                                                    .....................
     C                                                      MP                                                                                                DE
NT                                                        I                                                                                   N       F     I
               VIII. Code off Conduct
                                    T  I AL ................................................................ T...... .....        .. O
                                                                                                                                  C     .. .....................................................             36
                                 N
                      8.1 EGeneral..................................................
                                Gene
                          D General                                                                  ... . ..... .I. N
                                                                                                             O        .. ....................................................................
                                                                                                                      ...                                                                               ... 36
                N    F  I                                                                       T       P                                                                                            I A    L36
          C O         8 .2
                         2                    Guidelines              ...........
                                                                               .....
                                                                                .... ...
                                                                                     A     C
                                                                                           ....... ...................................................................
                                                                                                   .                                                                              .
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                                                                                                                                                                                             ...T...  .....
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                                                                                                                                                                                                      .      3

     N T              8.3       Disciplinary Procedures
                                                                    I
                                                                eduresM        P.............................................................. .... ... . I....D........................                     39
O  I                                                                                                                                                        N     F
                      8.4       Disqualifications
                                                 I
                                    qualifications
                                      ualification
                                             T     AL ............................................................. T...... C                  . O
                                                                                                                                             .....  ... ..........................................           50
                      8.5
                               I D  EN
                                Fines   ................................................................... . ........I..N
                                                                                                                       O        ............................................................... 50

                   O  8.6    F
                       N Performance
                                P                         Enhancing Drugs Policy
                                                                                                A     C     T an  P  and Substance Abuse Policy                                         cyy .. . ..T50
                                                                                                                                                                                                     N        IAL
        I N T C 8.7 Alcohol Consumption                         p
                                                                                I M        P
                                                                               ..............................................................................
                                                                                ..........
                                                                                .........                                                                             ......... ....
                                                                                                                                                                                F      D
                                                                                                                                                                                 . I.....     E 50
                                                                                                                                                                                        . ... ............

T PO IX. ADDITIONAL                                    T   I AL ................................................ . ... ... ......                 T       C     ON
                                     I D    EN
                                      AL PROVISIONS
                                            PROVIS
                                            PROVISIO
                                                                                                                                 O      IN    .......  ............................................52
                      9.11
                           O   N   F
                                Player     Equipment
                                           E                        ..................................... ............P
                                                                                                                 C    T      ..................................................................52            522
                                                                                                                                                                                                                 T IAL
                      C2 Team Uniform .......................... . ...M. .P.....
                  T 9.2                                                                                 ....A................................................................... .. . ... ..E
                                                                                                                                                                                                    D         N
                                                                                                                                                                                                           . 52
          O  I N      9.3       Insurance .....................  ...... ..... L             I
                                                                              ...........................................................................
                                                                              .........                                                                           .. ..........     N
                                                                                                                                                                              . . ....... F      I
                                                                                                                                                                                     ....................52
     T P                                                         T   I A                                                                                              C       O
AC                    9.4       Pace   of f  Play
                                                      E... N
                                                           ..   ....................................................................
                                                                ..                                                                          .   .
                                                                                                                                               ...  .
                                                                                                                                                    I  .
                                                                                                                                                       N. .   T
                                                                                                                                                             ..
                                                                                                                                                            ... ....................................         53
                      9.5       Individual
                                 ndividual
                                     N    FIDTimings
                                                  T
                                                  Ti                ................................................ ......       . P
                                                                                                                           ... . .....
                                                                                                                           C    T            O
                                                                                                                                        ........................................................54
                                                                                                                                                                                                                      T  IAL
                                 O
                      9.6 CBad Time.............................................. ................
                          T                                                                                 . .P. A    .................................................................... . . 55 EN
                O   I N                                                                                 I M
                                                                                           ............................................................................ . .. ...... N                  F    I5D7
                      9.7
                      9
          T P 9.8 Championship
                                Official Performance Data ....
                                                                                  IA       L                                                                                       CO 57
                                                                                                                                                                                                ..... ......
     A C                                                            N       T
                                                     hip Conditions.........................................................
                                                             Conditions
                                                             Condition
                                                                E                                                                                         .. . .. .... ...T
                                                                                                                                                                    N      . ..........................
MP                                   pensionFof         I DPlay
                                                            Pla ......................................................... ............ P                 OI
                                                                                                                                                                                                                            TIA
                      9.9       Suspension
                                     pension                                                                                                       .. ..........................................
                                                                                                                                                  ....                                                       58
                                       O     N of Play........................................ .. . ..... A                           C    T                                                                             N
                      9.10          C
                           0 Resumption
                                Resu   mp                                                                                  P    ..
                                                                                                                                .  ............................................................
                                 T Regulations .................. .. . .. .........................................................................                                                          588
                                                                                                                                                                                                                  D   E
                      O     I NCaddie                                                                 ........ IM                                                                          ... .... .... ..N 58FI
                                                                                             IAL
                      9.11
          A C  T P9.12 Accredited Agentsts. .. .....N                                    T
                                                                                  .. .......................................................................                                   CO 59
                                                                                                                                                                     . ... .. . . ....T................
  IMP                 9.13 Data Protection     tectionF&ID
                                            otection
                                                                         E
                                                                    Privacy.........................................................
                                                                    Priv                                                                            . ...... P       O         IN
                                                                                                                                                                .... ................................        59
                                                 O     N                                                                                         C      T
                      9.14 Other Event
                                 I N
                                            C
                                          Events..........................................................
                                       TEvents                                                                             .
                                                                                                                            I M       P. A . .................................................. 59
                                                                                                                          ..................
                                                                                                                          ................
                                                                                                                                                                                                                     F IDEN
                      T    P  O                                                                          I A    L                                                                                              O  N
               AC                                                                                  T                                                                                                      C
         M P
               Appendix
               Append
               Appen          A  – Emergency               Medical       al
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       I       Appendix       B  – Illustrative          Example
                                                                 NF              of   Team
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                   Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 6 of 67
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      FI        D                                                 O                                                   AL
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NT             ȀȀĀ THE PRINCIPAL
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                              principa
                       The principal         objectives      of LIV   Golf      clude
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                                                                             include
                                                                                  O  I Namong    other    things:

            O    NFI•                                                  C   T   Psport                                        T  I AL
                                                                 PA                                                 DEN
                                  developing and promoting   omoting      the           of golf at every level          competition
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   I NTC                          throughout               I
                                               out the world M
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O                                              I ALthe                                                 ON
                       •          maximizing
                                            T       th reach and impact of all Tournaments          C
                                                                                          Tournaments;
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                              I     EN the impact of the Series
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                                                                                eries and
                                                                                eries        N LIV Golf International Series
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                   O   N   F      to ensure a sustainable
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                                                                   e investment   T P matrix;
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        I N TC •                  building a sound   und p        I
                                                           platform M
                                                                tform  Ptto encourage LIV Golf’s partne      rtnersF
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T PO                                           N   T
                                  term relationships  IAL with events, rightsholders,, teams           T  C   ON
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                                     I DE ttop professionals to maintain
                                  allowing                                                   O
                                                                                     tain flex   IN during the professional
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                             Ngolf calendar; and                                    C  T  P                                              T IAL
               N  T C•                                                  I M   PAecosystem to benefit itss players,            I DfaEN
       P  O  I                    reinvesting into the       he global
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                                                                            golf
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ACT
                                  investors,, broadcaster
                                                         TIA and governing bodies. NT CO
                                                  broadcasters
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               ȀȀȀĀ DEFINITIONS
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                            FINITIONS
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                      N T C Certain Defined Terms.                           I M  PA                                              I D  EN
            P   O   I                                         rms Fo
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                                                                      For purposes       of these Rules and Regulations
                                                                                                                      gulations   F
                                                                                                                             N , the
          T                                                        I A                                                 C  O
     AC following terms shall have                       E T                                                    NT ootherwise:
                                                   e the N
                                                  ve        following meanings unless express
                                                            follow
                                                            followin                                     ssly stated
MP                                                 ID                                                     O   I
                                  “AsianO
                                   Assian
                                       ian   N   F means Asian Tour Limited,
                                             Tour”
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                                                                                             A     Tis P
                                                                                                       a member of the
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                                    C                                                     P                                                   E
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                 ternational
               International
                      O     NTFe  Federation of PGA Tours and                       IM regional sanctioning bodyy forNFID
                                                                          nd the officia
                                                                                   official

          A C   TP
               professional
               profess           golf in Asia, sanctioning
                                                                  N   T  IAL
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                                                              n ng tournam
                                                                     tourname           for professional golfers     rs thatC
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  IMP collectively known as theeNAsian                         E                                                     IN
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                                       T    CO Rankings” means, as of any particular
                                  “Individual
                                   Individua                                                   P   ACttime     in the Series, the
                                                                                                                                                D   EN
                            O    I N                                                      I M                                                F I
                ndividual
                 dividual
               individual
                      T  P  rank
                            ranki
                            ranking of all Players participating                    L Series, ranked according to tthe CON
                                                                          ting in the
                                                                                I A
                AC
               aggregate
               aggreg        total of Individual Points
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                                                              nts awarded   T
                                                                        N tto all Players in the Series pursuant            NTtto
        M   P
       I Section 7.2(b), with the Pl                ayer toFwh  I D                                                    O
                                                                                                             l Ta Pd being
                                                                                                                          I
                                                  Player
                                                      O   N    whom the most points are then allocated
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               ranked first.
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                                    O
                            T P“Person”                                                   L
                                                                                     IA partnership, limited liability        bility CO
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                      A C         “P             means an individual,    ual,
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               comp
               company,      limited      liability          ership,
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                                                     partnership,
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                                                                               venture,   syndicate,     person   , trust,
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               association, organization        onn or otherO
                                                     ToorCagency, and including anyy suc
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                                                                 entity, including any governmenta    menta A        qua
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               governmental association
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               otherwise,
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                      wise, of any       of the foregoing.
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                   IM   P                                                     I D                                                  O  I
                                  “Player” means a golf     golfer
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                                                                  er who    has contracted with LIV Golff to particip
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               in one or more Tournament(s).     ment(s)T
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                                      C    T   PO                                             T  I AL                                               CO
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 HIGHLY CONFIDENTIAL C                            T
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                      Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 8 of 67
      FI        D                                                  O                                                   AL
    N                                                  C TP                                                        T I
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                                            IM                                                  NF     I
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                                                        PA initials, autograph,h,, signature,
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                                “Player Identification”            m
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    C                                                                                                          DeE
NT           including the Player’s  yer
                                      er s name, IMnic
                                                me,    n
                                                       nickname,
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                                           L                                                      O
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                           E  N   TIApers
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     T and all the Player’s other
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                                                moral rights, performing rights and C                    O intellectual property
             trade names, copyright,
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                                  E or forms of protection having                             N  T    other
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             rightss (and Iall                                                           eOI
                      N  F       rights                                          v
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             anywhere      in the world) belonging to
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               t            in each case whether                I M
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             rights   and  goodwill   ll
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             to exhibit,, exploit,
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                                       copy                                                    O   IN with or otherwise use,
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           I N   TC                                                    I M                                                   F I
   T P  O                       “Regular Tournament”nament
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                                                          IA   L” memeans each Tournament forming
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AC                                                     T                                                           C
             Series in accordance      cee with N
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                                                   theses Rules and Regulations, other           ther than
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             Championship.nship NF
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                   I N T C “Senior Management”” me                            I M    PA
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                                                                                   individuals      set forth in Section ion
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     C  T                                                     T   I AL                                               T  C  ON
   A                                         means,E     N                                                      IN Captain to
MP
                                “Team” means,          collec
                                                       colle
                                                       collectively,      the Players selected       ed by a Team
                                              F I D                                                      P  O
             participate ass a “Team”
                                  C  O    N in the Series in accordance with                    theT
                                                                                                 C s RRules and Regulations
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             or as may otherwT
                           otherwise        be designated as a member      ember            P
                                                                                      I of the ““Team” in accordance with NFID
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        A C   T P Rules
             these    Ru
                      R       and Regulations.
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  IMP                           “Team CaptainF” Imea     DEns a Player selected by the                         P  O
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                             solute
             sole and absolute
                                     T   CO to be the leader of a Team
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                              during      the  Series.                                      I                                             N   F
                     T P                                                       I A   L                                               C  O
              AC                                                     E     T
                                                                        N means the final Tournament             ment of ItheNTSSeries
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     I that constitutes the team                       hampionship
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                                “Team Series Championship”
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             Rules and Regulations
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                          T P“Tournament” means each                                   IA   L                                               O  N
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                 P comprising the Regular                           ach of the      tournaments
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                                                                        DE and the Team Series Championship
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             further described in       n theseTRules
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                 nducted
             conducted                 the    Series,   such      ndividual
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                                                                      NF the authority to manage all                             P
             Commissioner in his sole discretion     scretion
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       FI                D                                                                             O                                                                                           AL
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               CEO & Commissioner.
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               Monitoring            Penalty .......................... ....... . A
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                    Golf                 CECO & Commissioner”) to administer
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                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 11 of 67
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                       T management           of the business and            PAof
                                                                      d affairs  o LIV Golf. The initial members         bers D  of EN
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                  Commissioner, oner,
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Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 12 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 13 of 67
                  Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 14 of 67

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Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 15 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 16 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 17 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 18 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 19 of 67
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 20 of 67
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               the   F to abide by the terms and condition
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ACT            copy   of the  form    of
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                                                                                             AppendixTC
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               and Regulations.
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                    I N  TC                                           I M   PA
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      C   T PO                                           T I AL                                               C  ON
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 HIGHLY CONFIDENTIAL C                       T
                                           - OUTSIDE         COUNSEL EYES ONLY                TIA              PLAYERS0000069T
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 21 of 67
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 22 of 67
      FI        D                                                O                                                AL
    N                                                 C TP                                                    T I
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                  Tourname
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                  understood and agreed     greed thathat    h penalty for a transgression       sion ofO   this   obligation will
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                  result in immediate
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               ACmaintain, personal liability                    E     T
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                  from his or her particparticipation
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                                 b designated from time              e to time
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            IMPinsureds
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                  number of the policy        y by which      th Player is insured.
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                                            I responsible                                          I M
                  The Playeryer shallO
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                  agentsAor C other
                                ot
                                o         third parties acting on its behalf     N   T in violation of these Rules anddNT                   C
                   M  P
                 IRegulations.                                          I    E
                                                                          Dplayer obligations will be determined                O    I
                  Reg               Penalties for failure ilu
                                                            ure      F
                                                              re to meet
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                  the sole discretion of the CEC            OO                                                 P   A
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                   Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 23 of 67
     FI       D                                              O                                            AL
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NT                in respect off th           IMP participation in the Series,
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                                              ayer’                                 ies, even
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                  participates     IAa L
                                       limited number of Tournaments
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Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 24 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 25 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 26 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 27 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 28 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 29 of 67
                         Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 30 of 67
      FI        D                                                   O                                                  AL
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                                              Event nt Summa
                                                        Summary                                              nship.
     C                                                                                                         DE
NT                                              I M                                                       F  I
                                                                                                     N each Team will be
                                    I A L For each Team Series Championshi
                                                                                              O
                                                                                        Championship
                                                                                        Championship,
                                                                                              C
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                          ENaccording
                     seeded      ac
                                 a               to Section 7.2(f) below      elow IN     T 1-4 will receive a bye to tthe
                                                                                        Seeds
                                                                                        See
                     I D                                                      P   O                                                   ALin
            O   NF quarterfinals
                     qu                 of the Team Series    eries      T
                                                                   ies Champi
                                                                      CChampionship           and Seeds 5-12 will      illll compete
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     N TC            the initial qualifying     g round
                                                         M
                                                      und (the
                                                       I      PA““Qualifiers”). The highest-seeded           seeded
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                                                                                                                     DTeam
O  I                                                                                                             F
                                                                                                          ( .N after the highest-
                     round will have the
                                        T  I AL first       option to select its opponent      ponentO
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                       eeded E
                     seeded
                             D      N
                                 Team     s
                                          selects    its  opponent,        the    second
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                                                                                             selecti
                                                                                                   tion    will be afforded to the
                     N
                     next
                     nex FhI
                     next-highest       seed, and so on). DuringTthe                 P QQualifiers, Seed 5 (as the top seed               IAL
                 O                                                       A   C                                                      N   T
        I N T C competing in such round)               nd) will have
                                                              I   M   P th  tthe first selection. After each       ach
                                                                                                                    ch round
                                                                                                                       F      DE of the
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T PO                                                  L the losing Team will be eliminated                      ON
                     Team Series Champ    hamp
                                             amp onship
                                               T I  onship,
                                                   Aons                                              iminated
                                                                                                      minated
                                                                                                        T  C
                                    D     N Each Team matchup
                                       E                                                  O  INaas three (3) “Match-Play”
                               F  I
                           N as follows:
                                        
                                                                               up
                                                                                          P
                                                                                   p is played
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                       O                                                            C                                                         T
                 TC                                                          PA                                                     DEN
                     matches
                     match

          O  I N                                                      I M                                                  N    F I
     T P                                          • two   A
                                                       tIwo  L(2(2) “Individual Match-Play” matches;      atches
                                                                                                            tches;C ;O
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AC                                            EN     T
                                                  • one (1) “Pairs Match-Play”              y matchIN
                                                                                                               T
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                                 NF     I                                                    T  P                                                     IAL
                             O                                                            C                                                        T
                  I NET   CMatch-Play
                        ach
                     Each    M                 match is worth one                   PA point and the Team with thee most
                                                                           e (1) Team
                                                                              I M                                                     F I DEN
       C  T PO Team Points after threee (3)TMatch-Pl             I ALMatch-Play
                                                                 Match-Play
                                                                 Match        l matches wins. The Team                     CaON will
                                                                                                                   am Captains
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     A                                               EN                                                         I N  T
MP
                     select    the   participants
                                            icipants
                                             cipants     for  each
                                                              e                           match     during
                                                                                                       uring     each   round
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                                               I D                                                         O
                     Team Series
                                    O   NF
                                      Champio
                                eries Championship.
                                                                                             A  C  TP                                                 N  TIA
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                    O   INT              In the eventt of a tie, each            MTeam Captain will select two (2)
                                                                                    Iach                                                ) offFID
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          A C  T P his or her Team’s Players                     N   T IAL the Team to compete in a Sudden
                                                                 represent
                                                     ers to represe
                                                                 represen                                             S T CD        Oeath
  IMP                Playoff in the formatFdescri     I DE above in Section 7.2(h).
                                                     described                                     h)..        P  O   IN
                                           ON                                                          CT
                             I N    T  C"
                                                 The Team Series Championship            I
                                                                                 hampionship
                                                                                  ampionshipM   P  A
                                                                                                   will take place as a Shotgu           un
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                    TStPO
                     Start t on each day, with twelve (12)            2 matches
                                                                      2)       I A L taking place on the first and second              C  O   N
               AC days of the Team Seriess Champion                 E      T
                                                                       N and six (6) matches takingO                             NTon the
       I M  P                                                  D
                                                           Championship
                                                           Champions
                                                             I                                                                 I
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                     third and fourth      h days
                                                  O
                                              days of Nthe F Team Series Championship
                                                          th                                       hip
                                                                                                          A    C  TP
                                    I N   TC                                                    I M    P
                                                                                                                                                        F ID
                          Tthe   O      "
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                             P playoff round to decide
                                                  In  each    of    the  final   round
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                                                                                                   T         Series Championship           p
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                    A C                                                        N  T                                          e Teams T    in C
                     and
            IMP the event of a tie, each
                                                                   dee the third
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                                                                                      (3rd) and fourth (4th) place
                                                                       DE will select two (2) of his orr her                 hPO
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                                                     ch Team       F Captain
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                                                             N to compete in a Sudde                                   T           Team’s
                     Players to represent resent C
                                        present
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Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 31 of 67
                      Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 32 of 67
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 HIGHLY CONFIDENTIAL C                T
                                   - OUTSIDE             COUNSEL EYES ONLY                 TIA                PLAYERS0000081T
                  Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 33 of 67
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                                 COUNSEL EYES ONLY   PLAYERS0000082T
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 34 of 67
      FI       D                                       PO                                            IA         L
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                F I DEN                                                   IN
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                                   Event Management
                                         M          Policy & Guidelines.
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                      N   FID  The management                         C   T   PO                                            T   IAL
                   O
          T C under the direction of,f, and subject
                                                           agement    A  and    conduct     of   all  Tournaments
                                                                  Pto oversight by, LIV Golf,, in its soleID   ments
                                                                                                                        E  N
                                                                                                                         shall   be
      I N                                                    I M                                                 F
T PO                                                                                                         N
                                                          subjec                                                     discretion.
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                   One or more     Tournaments
                                 e Tournament  T  IAL may be contracted by the           he SeriesT    toO
                                                                                                       C   one or more third-
                                                                                                           o
                        y eventID     EanN                                               O   I”)Nbased on the particular
                   party
                        O
                               F   management
                                   m                      companies (a “Promoter”)
                            Nof such Tournament andd suchAProm                  C      P
                                                                                 Promoter
                                                                                   T                                                 T IAL
                      C
                    ocation
                   location
                  Tnetwork.                                              P     Promoter’s       knowledge,             rtise
                                                                                                                 expertise
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                                                                                                                               andN
           I N
        O “core areas” on ann internationa
                               The Series may also contract        I M  w
                                                                        with one or more staging suppliers     p er F
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   T P                                                  I A L multi-Tournament basis,s, in its sole          C O
AC                                                   T
                                              nternationa
                                             international,
                                               EN                                                     NT
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                                                                                                                discretion.
                                        ID                                                      O   I
                              O    F
                                 N          LIV Golf shall prepare         re and Testa
                                                                                      C     P
                                                                                          establish
                                                                                          est            standardized eventt              T  IAL
                     N T C policies and guidelines
                   management
                   manage
                   managem
                   I                                                      I M
                                                                        which
                                                                 nes (which     PshA be determined by LIV in its
                                                                                 shall
                                                                                 sha                                      i sole
                                                                                                                              F I DEN
     C  T PO ddiscretion) that will be implemented         T  I
                                                       implemen AL by LIV at all Tournaments,                 en
                                                                                                                  C  to N
                                                                                                                     O     ennsure
   A                                                 EN                                                        T
                                                                                                          IN event. Each
MP
                   consistent infrastructure,
                                         tructure,
                                       structure,       logistics and operations at each
                                                        logi                                      ach Series
                                             F  ID                                                 P   O
                   Tournament,
                            ment, while
                                C  O   N un    unique, must follow an event
                                               u
                                                                                           CT fframework and utilize ENTIA
                                                                                    ent budget
                                                                                   vent
                                                                                      P  A
                     upplierT                                                                                                 plier ID
                     O   IN
                   supplier   partners approved by LIV, while
                              part
                              partn
                                                                                IM tto any applicable local supplier
                                                                              dhering
                                                                      hi e adhering
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              T   Pguidelines,
                   guid
                   guide         and driving local community mmunity
                                                           ommunity
                                                                    I A Laand economic impact.                          C   O
     P  AC                                             D   E  NT                                             O  INT Series
  IM                          Player Grant F       ofI Righ
                                                        Rights. As a participant in LIV GolfPInvit
                                                                                                      T     Invitational
                                           ON grants to LIV Golf ann exclusive,                 ACpe                                        DEN
             events, each   h PlayerChere hereby                                           P         perpetual, royalty-free,
                                                                                                     p
                              IN  T                                                   I M                                                F I
             worldwide,
                   ldwide,
                  rldwide,
                     T  P  O transferable,
                             trans               fully  paid-up,    irr    o
                                                                       evocable
                                                                           I A
                                                                                     righ
                                                                                     right and    license    (with
                                                                               L distribute, display, commercially  the   ri  ht
                                                                                                                            ght   to
                                                                                                                                   O N
              AC exploit, copy, reproduce
             grant    sublicenses)
                      su               to     exhibit,   transmit
                                                            nsm
                                                           ansmit  t
                                                                    N   T
                                                                      broadcast,
                                                                      broa
                                                                      broad                                       comm     T
                                                                                                                  commercial   C lly
       M  P                                                 I D  E                                                O  I NPlayer’s
     I       exercise,
                                                      NF with all content thatt iss created,
                                               reproduce,
                                                 eproduce       edit,
                                                                ed     host,   store,   and     othe  rwise
                                                                                                            T P recorded
                                                                                                              use  the
                                                  O                                                   A C
             Player Identification
                                   I N    T Cduring or in conjunction
                                              connection
                                              conne
                                  tion in connec
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                                                                                                          ca
                                                                                                                                               F ID
             or otherwise       O
                               generated
                         wise generat
                               generate
                           T P This grant of license includes
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                                                                                     L  the   Series
                                                                                              Se       event in which Player              N
                 particCpatin
                     A
                 participating.
             iss participatin
                                                                          N   T
                                                                  cludes future,
                                                                 ncludes         IA not-yet-defined derivative
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                                                                             future                                     ve work
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                 P in any manner whatsoever,                        DorEin composite or conjunction                           N
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          IM thereof,
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             ther                                               F I
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             materials or content,      t,, on, viaCor
                                              N   T     Oththrough any and all media
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             developed, on     n or inO
                                   P        I
                                        connection
                                        conn
                                        conne             with, related to, in furtherance o
                                                                                           L          of, or for the purposes                   NF
                                T
                             C act                                                  T  I A                                                C  O
             of anyny
                       P   A
                     y League   activity, League rights, Team
                                                                          D   E  N
                                                                      m rights, prompromotional       activities, or otherwise
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                  IM to LIV Golf events.
             in relation
                 relatio
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                                  C  T    PO                                              T  I AL                                               CO
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 HIGHLY CONFIDENTIAL C                        T
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Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 35 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 36 of 67
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 37 of 67
      FI        D                                                  O                                                    AL
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NT            ȀȀȀĀCODE OF CONDUCT        NDUCTUCT
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                                  T  IAL                                                        C  O
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                      I D   E   Gene
                                General.
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                NF                                                        T   P submits himself too standard            standTrIA
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            O                              Each Player             C
                                                               PA those required of ordinary
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                                                            ayer volunt
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                                                                                                                        standards   s of
   I N T C behavior and ethical            cal
                                            al conduct  I M   beyond
                                                              be                                       dinary F     I DEand
                                                                                                                 golfers         players
O                                               L                                                            N
                  of the publicblic
                                     N   T IA                                                     T   CO
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                      N   FID  It would be impossible             mpossible
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                                                                                                                                     T  IfAL
                 O
            T C conduct expected from Players                             A                                                       N
        I N                                               ayers
                                                                I MnP
                                                               rs in       circumstances or to list all ac
                                                                      all cir
                                                                           ci                                               DE would
                                                                                                                    cts which
                                                                                                                        F I
T PO                                                                                                               Ntto disciplinary
                  amount to a breach                thL
                                             h of this      Code
                                                       is Cod   d of Conduct (the “Code”)) and              ndO lead
                                               T  IA                                                     T  C
                  sanctions. In
                                   I D  ENcas
                                    n most     cases, common sense should                   d tell N
                                                                                           ld
                                                                                                O  I the Plalayer the standard of
                  behavior
                     ehavior    F iis required; however, for the avoidance
                            Nthat                                                  v iT     P    oof doubt, Players must ensure IAL
                        O
                     C ttheir conduct does not reflect                           A  C                                                E  N  T
                 Tthat
                    hat                                                      P
                                                                           unfavorably
                                                                    ect unfav
                                                                           unfavo               on the Series, LIV Golf, other
                                                                       IMof LIV Golf, Tournameents                              ID
       P  O  IN Players, officers or representatives           L                                                         N   oFsors, or
                                                 epresentatives
                                                   presentative
                                                            A confidence in the integrity
                                                      TIppublic
                                                                                                              nts or
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ACT               otherwise underminedermine N
                                              E   the                                             ntegrity
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                                                                                                              of
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                                                                                                                  the
                                                                                                                   h Series and its
                           aments. FID                                                         T   PO                                             IAL
                  Tournaments.
                           aments.
                              O   N                                                        C                                                   T
                    N T
                            C
                                                                              I M   PA                                                I D  EN
               O  I           General Guidelines. In most                       ccircumstances, the following         wing acts   F   or
      C   T Pomissions      will be considered   red to be    T  I AL to the Code and if established
                                                                 contrary
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                                                                                                                      T  C  OlN
                                                                                                                            wil
                                                                                                                            wi   lead to
  P  A                                               E    N                                                    I N
M             a penalty being imposed
                                         N   F D the
                                     mposedIby        th CEO & Commissioner, in his soleO
                                                                                                  C  T   P disc
                                                                                                              discretion:
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                                  C
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                                                                                          P   A                                   mally ID    E  N
                     O   IN                   Etiquette. A Player          yer shall
                                                                                     I
                                                                                   hallMnot fail to comply with normally              NF
              T  Paccep
                  accepted       standards of courtesy         sy andA
                                                                        I   L et
                                                                          golf   etiquette. This includes failure        ure to O
                                                                                                                               C  repair
          AC divot marks, pitch marks                        E  N   T                                                thINaTbunker is
  IM  P                                         arks and,
                                                       I D      in pparticular, the failure to ensure that
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                                                                                                               P se rules may cost
                  correctly raked   ed afterN       F Please note: Failure to adhere
                                                usage
                                                usage.                                             h
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                                           O
                  a Player
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                                     T of Individual Points determined
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                                   amoun                                             rmined
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                                                                                                     the discretion of the CEO &
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                        P   O
                  Commissioner
                  Commiss
                     T                  and if repeated offenses    enses are
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                                                                                     recorded, at the discretion of the Vice
                                                                                     reco                                               O  N
              ACPPresident, Rules & Competitions        etitionsE    orN    T                                               hINLe
                                                                                                                                     C
                                                                                                                                  Tague
       I M  P                                                 I D         the Chief Referee appointed by the
                                                                                                                         O      Lea
                  from time to time.
                                                  O    NF                                                   A C  TP
                                              C
                                          T Crime.                                                  M   P                                             ID
                                  O   I
                                     
                                      N                   A  Player     shall   not    be       I
                                                                                               convicted
                                                                                               convic        of a criminal offense             N    F
                           T Pdishonesty or moral turpitude           tude by T
                                                                                          L
                                                                                      IA of law in any jurisdiction.n. T CO
                    A  C
                  involving                                          itude
                                                                              N    a cou
                                                                                      court
            IMP                                                    F I DE
                                                                                                                        T   P  OIN
                                                           N A Player shall not havee anyAfinancia                C interest,
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                                              Anti-Corruption.
                                                nti-Corruptio
                                                nt   -Corrupt                                                      financial
                                             N   T                                                       IM   P
                  either directly
                                     P  O   I
                                    ly or indirectly
                                          indirectly,      in the   performance          or  t he
                                                                                                e
                                                                                                 Lby LIV Golf and/or the Asian CONF
                                                                                                   winnings    of  another     Player in
                                 T
                           ournament
                  any Tournament           approved or otherwise sanctioned
                                                                                          T  I A
                  Tour P   AC
                           or a other regulatory body,
                              any                                   y, whether
                                                                              D   E  N th
                                                                                       through purse splitting, Prize
                                                                                                                                     O
                                                                                                                               e Money
                                                                                                                                 Money
                                                                                                                                     ney INT
                   M
                 I““insurance,”                                             I
                                                                    NFoor otherwise. Each Player agrees                         cP ply
                                                                                                                             toTco
                                    financial assistance,
                                                                 O
                                                       stance, bets
                                                             C                                                          A  C    com
                                                    N    Tcorr              policy, including the Idisput       M   pP e resolution
                   with the League’s
                                           PO     I
                                                 anti-corruption
                                         ue’s anti-corr
                                                 anti-

                                    C   T                                                        T I AL                                           T  CO
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 HIGHLY CONFIDENTIAL C                        T
                                           - OUTSIDE               COUNSEL EYES ONLY                   TIA               PLAYERS0000086T
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 38 of 67
      FI       D                                                O                                               AL
    N                                                C TP                                                   T I
  CO                                             P A                                             D  EN
                                       IM                                               NF     I
                           I A L                                                 C  O
              D   E  NT                                            O   I N   T
      O  NFI provisions contained there A              nC    T P shall, in each case, be promulgate
                                                           whic
                                                           wh
                                                           which                                              N
                                                                                                       promulgatedT   IALby the
    C                                                                                                   DE of this Section
NT              Commissioner and CEO         IMPAAny Player who violates the
                                            CEO.                                                   F  I
                                                                                               provisions
                                                                                          he provision
                                                                                               N
                                 I A  L to a suspension from Tournament                 C O
                8.2(c) shall be
                        E  N   T   subj
                                   subject
                                                                                N  T            play for the remainder of
                theID                                                         I
                                                                          O of the CEO & Commissioner.                            LIn
              N  F Serie
                     Series
                     Series, to be confirmed in the sole         ole discretio
                                                                   T
                                                                      discretion
                                                                      P                                                      I A
     T  CO      ad
                addition,    a Player    must    nott  do
                                                          P  AC
                                                           any  of the
                                                                   t     following:
                                                                                                              D  E    NT
OIN                                                 I M
                                       Lfail to give his or her best effortsOnN                        F I
                                      T I A                                               T   C
                                                                                                        competition
                                                                                                        com
                                                                                                        co                   at any

                           DEN                                                       IN
                    Tournament;
                      ournament;
                       F I                                                    P  O
                                                                         Tdealings                                                 IAL
               O   N                                           A C                                                       N   T
          T C might reflect adversely
                                               associateate
                                                          te  or  have    d             with   Persons       whose
                                                                                                                 ose     activities
      I N                                    rsely uponIM
                                                                P
                                                                                                                F  I DE
T PO                                                                                                    ON
                                                             the integrity of the game of golf;
                                                             th                                     g
                                            T I AL                                               T   C
                                 D      N bet money or anythingg of value
                                     E                                            O   INon a golf tournament or
                               I
                         NFevent                                                T   P                                         ether TIAL
                    similar
                      O       eve (including, for the avoidance
                              ev                                   oidance of
                                                                             C     doubt, any Tournament), whether
                                                                                   dou
                                                                                   d
                                                                     PAtournament or similar event;
                                                                                                                             hether
                                                                                                                                   N
           I N T Cor not the Player is a participant            I
                                                        cipant of M such                                         nt; IDE
                                                                                                                        F
   T P  O                                            I A L                                                    O    N
AC                                    "    N    T
                                               bribe,
                                               bribe    gift,
                                                        g     pay,  reward     or  otherwise
                                                                                          wise
                                                                                             ise  give  T  C
                                                                                                         anything
                                                                                                        anyt
                                                                                                         anyth         of value to
                                            E                                                     I N
                    any Player
                               N   FIDthe
                           layer with     th intention of influencing hiiss or her
                                                                                   C   T      O rts in a golf tournament
                                                                                          Peffo                                           T  IAL
                            O
                     T C event (including, for the aavoidance
                    or similar                                       oidance PAof ddoubt, any Tournament); IDEN
             O  I N                                                   I M                                                  N   F
        T P                           "                  I A  L                                                 C   O
   A C                                         solicit
                                                 olicit
                                                     N   T
                                                        or  agree   to accept
                                                  E of value offered or given with
                                                                                  any    bribe,  gift,
                                                                                                          N
                                                                                                              m
                                                                                                        payment,
                                                                                                              T         rew   ard  or
MP                  otherwise accept ccept D
                                          F I anything
                                              anythin
                                                                                                 P  OI tth  the intention of
                         encingO
                    influencing
                        uencing
                               C
                                      N PPlayer’s efforts in a golf tournament
                                    such                                      ournament
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                                                                                   P   A  C or ssimilar event (including, ENTIA
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                  O   I
                    forNtheT avoidance
                              av             of doubt, any Tournament);
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             TP                                                      L
                                                                 IApromptly                                               COany
        A C                           "                 N   T                                                     T
  IMP                                spectedF
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                                                   I DEgift, payment, reward or other offer
                                                 ail to report                    to the CEO & Commission
                                                                                                        P      IN
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                                        ON or acceptance orr bet                             ACTin this Section 8.2(c);
                    known or suspected
                                   uspected      bribe,
                                                 brib
                                                 bribe                                                         for anything of
                    value,
                              N  T
                        ue, or any   Cagr
                                       agreement
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                     P  O   I                                               L                                                         N  F
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                    and
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          P  AC                                            D  E  N                                               O     I N   T
     I M                              " associate
                                                   Noor  I    or  have dealings with Persons
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                                                                                                                         ac
                                                                                                              P prohibited
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                    have involved  edd trafficking                                        ances         me
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                    by the World
                               O  I    Anti-Doping
                                       Ant
                                       An                Agency, or other    err forms of
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                                                                                              doping.
                                                                                              do
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                  A  C  T P  Misbehavior,, Lack ofNIntegrity.            T IA A Player shall not                                T  CO
                                                                 DEis generally unacceptable                                   N
                                                                                                                          Ol Isocial
          IMPmisbehavior of a personal
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                                                                           In                                     ot t  (i) exhibit
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                                              onal       N
                                                nal nature   F I
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                                              T   COto the golf course or any property         opertyPat  At tC
                standards, (ii) causeause damag
                                     O   I Ndamage
                                                                                                 I M          he Tournament
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                venue (e
                              T  P
                                throwing
                          e g throwin        of   clubs   on  the  golf   course
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                                                                                        unacceptable)
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                        t C
                        A                                                  E  N   T not amounting to cheating                        NT
                exhib
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                           behavior
                           be            lacking integrity (whether
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                di            conduct) in any play             NF oof golf.
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                                 C  T   PO                                               T I AL                                                 CO
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 HIGHLY CONFIDENTIAL C                     T
                                        - OUTSIDE            COUNSEL EYES ONLY                 TIA                PLAYERS0000087T
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 39 of 67
      FI       D                                                O                                               AL
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                          EN    T                                                NT of LIV Golf and the Series,
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                                                   The favorable public
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                NF all
                     al of its associates and its To                  T
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            O                                                      C                                                    T
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     N TC            benefits for all Players.  ayers.
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                                                           Accordingly,
                                                      s. Accord             each Player is obligated D
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O  I                                   n newsLmed                                              orO       F
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                     comments in
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                     Tournaments
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                       ournaments           (including
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                                            (              any   Tournament’sent’s
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                                                                                    promoters
                                                                                    promote         or   sponsors), Players
                     N   F
                     (including,
                     (includi
                     (includ         if applicable, any of the              T Pho
                                                                  he Player’s   host countries or venues) or LIV Golf,      Golf IA, L
                 O                                                    A  C                                                N    T
        I N T C or otherwise engage in any conduct           I M   P llilikely to injure or discredit the reputatio
                                                                                                                F I DE n of
T PO                                                                                                       N
                     LIV Golf or any       y of theL    Players, associates or stakeholders
                                                        P
                                                        Playe                                 lders or Oconconduct
                                                                                                           cond         which is
                                                T IA                                            T   C
                     contrary
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                              ry to these       Rules and Regulations.
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                       O   N   F                                              C  T  P                                                T IAL
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                 T Creasonably know, will harm
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       P  O  I                                         arm the reput
                                                            L this Section 8.2(e) shallll not prohib
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     T                                                T  IA                                               C   O
AC                   sponsor      of    a
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                                             Tournament,
                                               EN of a legitimate disagreement               O   I NT any of LIV Golf’s
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                     reasonable          I
                                       express
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                       TC                                                     PA                                                 DEN
                     policies.
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       C  T PO                            Any
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                                                       y violation                                      onsidered
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     A               unbecoming of a professional.
                                              F   DEN
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                                        N Failure to Report Breach            ch ofPthe
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                                                                                         CCCode.       Failure to report a                E  N  TIA
                        INoofT the Code by another Player when                IMthe Player has witnessedd or has                  sFI
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                    O
                  breach
               T Ppersonal knowledge of such                         IAL act or omission and the                               N
          A C                                         uch otherTPl
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                                                                    Player’s                               he PlayerT  CshOould
  IMP                                                 I DEa breach may have occurred,              o P    O    INto cooperate
                  reasonably have realiz  realized
                                          reali  zed
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                  in any inquiry,
                           nquiry
                             quiry,, shall
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                                        CObe a breach of these Rules and                 P  ACT
                                                                                       Regulations.
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                          O  Rules of Golf. PlayersIAmus                         I M                                              N   F I
                    T  P                                                      L comply with the tournament
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               ACof Golf, as promulgated by theDUnite            E     T
                                                                    N States Golf Associationn and the                 N  T
       I M  P                                               I   United
                                                                                                              P  O   I R&A (the
                  “Rules of Golf”), as amended    O   NF by any local rules in forccee at A        anyC   T
                                                                                                          event and further
                                                                                                          eve
                                                                                                          even
                                           T“CoC                                            M  Por other rules, bylaws,                          ID
                  comply with the
                               O    I N     “Conditions of Competition Regulations        I
                                                                                 Regulations”
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                          T P or instructions as specifiedd by
                  directions                                                 the   L
                                                                               IALea
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                                                                                  League which shall be deemed               d to CO
                    A C                                                E  N  T                                              N    T
                P inco
                  incorporate      the relevant provisions
            IM breach the Rules of Golf in order           ovisions
                                                            vis ons D  of  th
                                                                           the Code. No Player shall deliberatel
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                                                                                                                   deliberately
                                                         O  NFtoI gain an advantage.                         C  T   P
                                               N  TC                                            I M   PA
                                   P         I
                                    O Goodwill.
                                               G             Players must at all times   L act in the best interests of CONF
                               T                                                     I A
                      P   AC aand the game of golf and tryD
                  the League                                                   NT the goodwill which attaches
                                                                          to enhance
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                  M game.
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                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 40 of 67
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                                                                   Rules and Regulations. No           o Player   N   T I
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NT                any of the Rules les
                                    es and Regu IMP as published herein. NFIDE
                                               Regula
                                               Regulations
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                      EN      TIA Procedures.                                       T
                     I D
                               Disc
                               Dis
                               Disciplinary
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            O   N  F                                               C  T  P                                                  T I AL
                                                            PA                                                   DEN
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       TC
                                              General ral Statement
                                                          Statemen       of  Policy   and    Scope.
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                                       TIALThisTh Section 8.3 sets forth              th
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                                                                                          h the comp
                                                                                             T
                                                                                                   comprehensive             dispute
                     resolution
                           I D  EN  pro
                                    process      (collectively, the “Disciplinary
                                                                                    O   IrNPr
                                                                                            Procedures”) applicable to alll
                     N   F
                     partic
                     participating                                       C
                                                                ligations,
                                                                 igations,
                                        Players for all obligations,        TclaP
                                                                             claim
                                                                             claims, breaches and violations set forth           oTIAL
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            T C in these Rules and Regulations.                    PM A                                             w ID
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        I N                                                  I M       More specifically, the Player          e will
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T PO                 contest those      e claims,
                                              T  I ALbbre
                                                       breaches and violations, to the extent
                                                                                                   T  C  Oe Nthat they are
                     litigated
                                 I D  EN only through the Disciplinary
                                    contested,
                            ted or conte
                                    contest                                       ciplinary
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                                                                                    iplinaryIProc
                                                                                               Procedures
                                                                                               Proce            set forth herein,
                     and N     F have no recourse to any               ny otherTco   court, tribunal, arbitral forum, or TIAL
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                       O    shall
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             I N T Cadministrative body of any             ny kind.MP
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     T P  O          acknowledges that        att theseADis
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                                                           Disci            Procedures constitute    tute anO         N ment to
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                     submit to    o binding
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                     understanding,
                     understanding
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                                                                              eal is pursuT  P of any League decision TIAL
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                  I NpT   C to Section 8.3(k) and !
                     pursuant
                     pursu
                       ursu                                        !
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                                                                         8.3(l PA
                                                                          8.3(l).
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       C  T PO                                TheN     T  I AL Procedures do not address         ddress T     theCp
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     A                                                  Discipl
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                                                        Disciplinary
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                                                                                                                       procedures
                                                                                                         INDrugs Policy and
MP                                          F  I                                                   P O
                                                                                            CbTe addressed in separatee ENTIA
                     and processes
                                 esses related
                                cesses                                                    ce Enhancing
                                   O    N                                                 A
                     Substance  C    Abuse Policy. Those provisions
                                     Ab                                        sionsPshall
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                    O   INT resolution procedures made partIofMthe Series’ Performance Enhancing                                  N   F ID
                     dispute
                     dispu
               T P Drugs Policy and Substance                           L each of which shall
                                                                     IAPolicy,
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          A C                                        stance
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                             I N   T   C
                                                 Any disputes relating     ing
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                    T  P  O                                               I A  Lpro                                                 O  N
                     Regulations
                     Regu             which are not subject
               AC Sections 8.3(a)(i) and 8 3(a)(ii)
                                                               bject
                                                                 ject to the
                                                                    N   T       procedures and processes set
                                                                                p                                        et forth
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            P                                                 D  E                  “Other Disputes”)) shall beIN
       I M                                                  I    (collectively,
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                     solely in accordance            NFtthe relevant provisions sett forthAinCSect
                                                    with                                                  Secti
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                                O       "
                          T P procedures set forth
                                                  Each    Player          es
                                                                     agrees s  to  be L boun
                                                                                        bound    by   each provision of the
                                                                                   A and Regulations, regardless
                                                                                 IRRules                                                 O N
                    A C                                                   N   T                                                     o C
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            IMP the number of Tournaments           aments F
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                                                           N by the disciplinary procedures
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                     Player’s agreementementTtoC      be                                         o      Pres
                                                                                                 ocedures        sset forth herein
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                                      O uuntil the matters raised and                              I M                                          NF
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                     shalll continues
                                                                                        I A L
                                                                                   nd addressed        by such procedures,
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                      P   AC as broadly as possible,, areDresolved
                     understood
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                                                                              E  NT through the processes set forth              o
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                 IMini these Rules and Regulations.       tions. FI
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                                  C  T    PO                                                T I AL                                              CO
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                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 41 of 67
      FI        D                                                  O                                                   AL
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  CO                                                P A                                                D   EN
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                                                     Investigatio
                                                     Investigation.
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                                     I A L LIV Golf shall have the full
                                                                                              O
                                                                                       ull authority
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                           EN investigation that may lead                            NtheT ddiscovery of evidence off aany
                     expedien
                     expedient
                     I D
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            O   NF violation
                     vio           of the Rules and Regulations.       T
                                                              egulations.
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       TC                                              ng to P    A and conduct an investigation:          gation:D        N
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O  I N               the following in deciding
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                     of any Player  ayer
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                                                Person
                                                  e          associated with the LIV
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                                                                                                             v tional Series; (B)
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                     statements
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                             I D  EN    of any
                                           a     Person      not  associated     with
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                                                                                        LIV N Golf;   (C)  documents;        (D) public

                 O   N   F and (E) media reports. CT P
                     records;
                     records
                     record
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        I N TC                                             I M  P will be conducted by the ViceIDPPresident,
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T PO                                                                                                          ONAdministration
                                                   The investigation
                                                           investig
                     Rules & Competitions      T  I ALDDepartment and/or the Vice                      T   C
                                                                                                    President,
                                                                                                ce Presiden
                                     D  EorN                                   V Golf atO     itsIN
                     Department
                            N    F I     o any agent selected by LIV
                                                                                     T   P         sole discretion.
                                                                                                   so
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                        O                                                        C                                                   EN     T
               N TC                       All Players,
                                                                     I M PA but not limited to, the PlayerID
                                                                    including,
                                                             yers, including
                                                                    includin                                                     who    iis
          O  I                                                                                                           N   F
  C  T P             the subject of any
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                                                y investiga AL must cooperate fully with
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A                    conducted          pursuant
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                                               E t tto the Disciplinary Procedures.          dures. IN
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                                       F I
                                   N is nnot limited to providing statements                T   P                                                   IAL
                     include
                      nclude but
                               O                                             tatements
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                                                                                        C      and testimony, as well as hard
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                  I N  T Cddocuments and electronicc documents
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                                                                     document    PAat the request of LIV Golf.
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       C  T PO                           "                T  I ALincluding, but not limitedd to, theTPla             C  ONwho is
     A                                            DEN
                                                   All Players,
                                                         Players                                                       Player
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                     the subject  ect
                                    ct of any
                                         N    F  investigation,
                                                 inve                may be served with a form
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                     too provide  C  Ofacts regarding, and related to
                                      fac                                      o theP       A
                                                                                         investigation.
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            C  TP                        "       If the Player Iwho
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                                                                                                                     tigation
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  IMP                to cooperate or provide
                                                    F  I     any requested information, or fails
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                     requested    ed        ON such refusal may constitute
                                       information,
                                   d informatio                                             titute C
                                                                                           stitute          aggravating factor in
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                     connection
                               I N   T  C
                                        with any subsequent finding
                                        w                                  ding           M
                                                                               ng of Iliabil   P
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                    T  P   O of liability is made, suchh a refusal
                     finding
                     findin
                       indin                                               I A  L ccooperate may constitute a separate
                                                                                to                                                   rCON
               AC violation of the Ruless and Regulat              E     T
                                                                      N where such refusal rises                                 T el of
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       I M  P                                                 I D
                                                               Regulations
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                     tampering with      th an O       NF
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                                                   All  information     furnished
                                                                              ished
                                                                               shed     to  LIV  Golf
                                                                                                 G       pursuant to this Section        n
                    A C   Tsshall                                          N   T  IitAbecomes necessary to disclose such                T
                     8.3           be kept confidential except
            IMP information to further
                                                                  xcept when
                                                                    I DE of and/or to bring proceedings                    P  Ore IN
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                                                              investig
                                                              investigation
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                     to a violation     n of the  T       ON
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                                                       Performance       Enhancing Drugs          gs Po icy  PA     C
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                                        OI or N                                      on is L           I M                                             NF
                     Abuse
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                                                                                       Tto an investigation or prosecution                       C  O
                      P   AC
                     professio
                     professional,       or judicial authoritiess pursuant
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                 IMof non-sporting laws or regulations.             NF
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                                                             gulations   I                                                    TP
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                                    C   T  PO                                                 T  I AL                                                  CO
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                      Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 42 of 67
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  CO                                                 P A                                                D   EN
                                           IM                                                 NF      I
                              IA  L                                                    C  O
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       O   NFI                                      ulat onCof T  PTime Periods. The ruless set N                      T   I AiinLthese
                                                         PA time periods measured
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                                                 Calculat                                                              forth
     C                                                                                                             E
NT                                    ocedures
                                        cedures
                  Disciplinary Procedures          IMinc
                                                       include                                 ed by aFnumb
                                                                                                     N      nID er of days. Each
                  of these        T I
                          ese periods ALincludes
                                            iin           weekend and holiday        a days. C   O  Iff the last day of the time
                      I D  EfaN on a weekend or holidayy day, the             O    I NTday to act in that time period shaall
                                                                                                                                        ALas
                  period    falls
                            fall                                                  last
                NbeF                                              T CendT  Pof the time period is always                  c l uTated  I
            O     b the next following week day The
       T C 5:00 p.m. (EST). Holiday day                           A
                                                               Pdefined
                                                                        e                                           ays
                                                                                                                         EN States
                                                                                                                    a calculate
                                                                                                                         calculated
   I N                                                   I M is             as a day recognized        zed byF      I
                                                                                                                  the DUUnited
O                                            I AL holiday, and no other holiday                         Oar  N
                  government  entnt as aTfeder
                                           federal
                                           federa                                        ol day days
                                                                                                T   C       are excluded from the
                            I
                  calculation
                    alculation
                          F   DEofNtthe relevant time periods set            et forth
                                                                                  P   O    INth
                                                                                          in the Disciplinary Procedures.
                                                                                                                                              IAL
                 O   N                                                  A C   T                                                       N   T
        I N TC                                Notice of Vio ation
                                                               IM   P oor No Finding of Violation. IDE
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T PO                                      TIAt
                                            N
                                                      ALtthe completion of the investigation,           T
                                                                                             vestigation,   C  Oif
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                                                                                                                    the   investigation
                        esults inID    E                         by LIV Golff that O             I N
                      results
                         O  N   F     a determination
                                          d
                                                                                 C   T    P   a vio
                                                                                                 vi
                                                                                                 violation of the Rules and
                                                                                                                                                 T IAL
                 T Cinterim written notice that
                      Regulations
                      Regula            has     occurred,    then    LIV
                                                                          PA
                                                                          Golf  will    provide     the     subject     Play   er   w
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          O  I N                                                     I M
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     T P                                                  IA Loof the evidence supporting                          C  O
AC                    occurred,     (B)   a             T
                                              description
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                                                 E(“(“Interim
                                                                                                   ng   the
                                                                                                           NT
                                                                                                              violation
                                                                                                              violatio
                                         I D                                                        O    I
                      potential
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                              tial sanction                     Notice”).
                                                                                         C   T  P                                                     T  IAL
                  I N   TC                        The Interim  m Notice
                                                                           I M   Psh
                                                                                  shaA also inform the Player
                                                                                  shall                                        err of the
                                                                                                                                        F  I DEN
       C  T PO Player’s right to submitt a written           T  I ALexpexplanation for the violation or            o any n O
                                                                                                                         C    appliN able
                                                                                                                              applic
     A                                                  EN wwithin ten (10) days of suchh O                           T
                                                                                                             n INc on (“Interim
MP
                      mitigating circumstances
                                          cumstances                                                         notifica
                                                                                                             notificati
                                               F  I D                                                   P
                             onse”). The
                             onse”).
                      Response”).
                                  C  O   N Int   Interim Response may consist                      T
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                                                                                                arguments          and facts that LIV
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                          N   T consider in connection with any
                      Golff shou
                             should
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                                                                                       defense to the claims and sanctions               ionss ID
                 P  O    I                                     ice, allAofLw                                                       a ON
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          AC   T      sse forth in the Interim Notice,
                      set
                                                                NT    I     whi
                                                                            which LIV Golf shall consider and              a accoun
                                                                                                                                  Caccount
       P              for.
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  IM                                                    I
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                                        C                                                          A                                                    DEN
                                                       the expiration of the       e tenP
                                                                                       he        (10)-day
                                                                                                 (10)
                                                                                                 (10)-da       period, LIV Golf will
                              I N   T final notice to the Player                          I M                                                        F I
                    T
                      issue
                        P  O
                        ssue  a  written
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                                 wri                                     ayer
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                                                                               of   its  findings
                                                                                         find         of  liability
                                                                                Lof the right to appeal the           and    sanct     ion
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               AC sanction findings pursuant
                       b
                      be   imposed,      if   any,    and   otify
                                                             tify
                                                           notify  the
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                                                                         Player                                        hee  liability T  Cand
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         M  P                                                I D   E                                                     O    I N
       I                                                NF
                                                    ursuant   to  these
                                                                  the     Disciplinary       Procedu       res
                                                                                                                 TP
                                                                                                               (“Final    Not    ice”).
                                                     O                                                     A  C
                                     I N   T C The Final Notice may contain
                                         "
                                         "                                         ontain IaM    Pr P
                                                                                                    Prov
                                                                                                    Provisional        Suspension, as
                                                                                                                                                           F ID
                                 O
                              P in Section 8.3(i). The Final TNotice                    L                                                             N
                    A
                      setTforth
                       C                                                    N      IA will inform the Player of the                          T   CO
            IMP opportunity             for the Player to
                                                                  F I DE the
                                                                o accept    th Provisional Suspension as set forth
                                                                                                                         T   P   OIN iin
                      the Final Notice, pending   ending     Nrre
                                                          Othe   resolution of the entire case. In                hC
                                                                                                              n the
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                                                                                                                      altern
                                                    T   Cthe                                                  P
                      Final Notice ice will N
                                       O      I inform         Player of the Player’s right       h to  IM
                                                                                                        o  conte est   the   Provisional
                                                                                                                                                            NF
                      Suspension,T  P    as set forth in Section 8.3(g).
                                         a                                     (g). If the I A LPPla
                                                                                                 Player does not contest the                          C  O
                           AC Suspension or any other               ther partEof  N     T                                                      sN
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                       P
                       Provis
                       Provi
                      Provisional
                 IMof receipt of the Final Notice, the                    I D         tthe Final Notice within ten (10)
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                                                                                                                                    0) days
                                                                                                                                      P       I
                                                                O  NFFFinal Notice shall becomee finalAand                  C    Tbibinding
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                                    C  T    PO                                                T  I AL                                                       CO
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                        IMP                                               N   FID                                                       - 411P
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 HIGHLY CONFIDENTIAL C                          T
                                            - OUTSIDE             COUNSEL EYES ONLY                  TIA                  PLAYERS0000091T
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 43 of 67
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 44 of 67
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 45 of 67
      FI        D                                                 O                                                   AL
    N                                                 C TP                                                        T I
  CO                                              P A                                                  D  EN
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NT                   (10) days afterfter
                                     ter receipt IMofPthe Final Notice, then the Player         l er F
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                                                                                                          will
                          mittedTthe
                     admitted
                       dmitted      I ALru
                                         rule violations charged, and the Final              C  O
                                                                                                Decision will issue.
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                     I D  EN                                                    O  I NT
            O   NF                          Confidentiality. ality. T P
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   I N TC                                               M
                                                   All IPlay
                                                               PA(including authorizedd representat
                                                                                                                F I DEN League
O                                          I A  L         Players
                                                                                                           N
                                                                                                      representatives),
                                                                                                       Oaadministration
                             oyees and
                     employees
                                    N   T    con
                                             contractors, and Persons involved        olved
                                                                                         ved inT   C
                                                                                                  the                        of these
                                 E                                                        I N
                     N   FIDand Regulations are subjectt C
                     Rules                                                   to the
                                                                                T  PO conf
                                                                                      confidentiality provisions set forth         o
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            TC   O   herein.
                     he                                                  A                                                      N
        I N                                                     I M  P
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T PO                                      
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                                               T  I ALalall times
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                                                                                                                 Final
                     communications
                           munications
                                  I D  EN and  a       submittals made by the Player,
                                                                                             O  INan  and all findings from LIV
                     GolfN
                     Golf,
                       O
                                F the exception of the fact
                           , with                                         ct of the T
                                                                                  C      P
                                                                                      Provisional Suspension as set forth
                                                                                      Prov
                                                                                      Pro                                          o    T IAL
             I N T Cbelow,
                     b          are confidential and         d are not
                                                                      I M   Pbbe
                                                                           to
                                                                                A disclosed to any party.
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     T P  O                                               I A  L                                                    O   N
AC                                           NOnceT     a   Final  Decision     is issued,d,   either    TdueC  to
                                                                                                                     t   the Player’s
                                         IDch  E                                               toO
                                                                                                        I N
                     decision
                           sion
                             ion not
                              O  N    Fto    challenge the Final Notice, or due P
                                                                                        C   T       an adverse determination
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                  I N  T Ca he
                     after      hearing, the determinationss will become
                                                                             I M  PA public.
                                                                                                                                  F I DEN
       C  T PO                          "       The Player
                                                             T   I AatL iissue may publicly announce                   C  ON
                                                                                                                       acknowledge
                                                                                                              nce or ackno
                                                                                                                       acknow
     A                                            anyELIV N Golf event related rule violation                  IN   T
MP                   the disposition    on of D
                                       ion
                                             F  I                                                  i
                                                                                                       P  O     against the Player
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                     when  n charged
                                 C  O
                                harged  Nwith
                                           wit a suspension or discipline,
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                                                                                              applicable,
                                                                                     ne, as applic
                                                                                              applica           at any stage in the
                                                                                                                                             E  N  TIA
                         NT                                             err electsIM    P
                                                                                        make such a public announcementFID
                    O   I
                     proceedings.
                     proceedi
                     procee              However, if the Player                    to mam
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            C  T P or acknowledgement, thenn LIVTGolf                  I ALno longer has any confidentiality        iality   C  O
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  IMP                with respect to that
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                                                                                               P not apply where it is                             EN
                              I N   T              These       confidentiality     provisions
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                                                                                         I Msions    do
                                                                                                                                            F ID
                    T  P  O to bring proceedings relating
                     necessary
                     necessar
                     necessa
                                                                              I A L to a violation of the Performance               n
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               AC Enhancing Drugs Policyy orDEtheN Su                      T                                                       C
         M  P                                                  I
                                                                            Substance Abuse Policy, or when
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       I             information is reported  eported F
                                                       N    to adadministrative, professiona                     u P authorities
                                                                                                                 T
                                                                                                      al, or judicial
                                nt to anTinvestC  O                                                  oP   A  C
                     pursuant
                                 O   I N
                                            investigation
                                            investi              or prosecution of non-sporting
                                                                                          non-s
                                                                                              n-sporting
                                                                                               IM
                                                                                                               laws or regulations.
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                          T P  Provisional Suspension.               ensionTIA       L                                               CO
                    A C                                                 ension.
                                                                              N                                                       T
            IMP                                                    F I     E
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                                                LIVIV Golf
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                                                                                                                   C     Play
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                                                  T frfro                                                   FPn Notice until the
                     any play in the   he Serie
                                       O
                                            Series
                                            I NDecisionfrom the time of the issuance of the Final
                                                                                                       IMLIV                                       NF
                     time
                       me of the
                                T   P  Final
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                                                                                    Suspension”).
                                                                                    Suspension
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                                                                                          I          ”)          Golf may publicly
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                          AC the fact of a Provisionalall Suspension             E N   T                                                NT
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                     announ
                     announce                                             Suspension.
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                       IMP                                                 N    FID                                              - 44P
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                                                      O    IN                                                       IM
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 HIGHLY CONFIDENTIAL C                        T
                                           - OUTSIDE               COUNSEL EYES ONLY                 TIA                PLAYERS0000094T
Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 46 of 67
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 47 of 67
     FI        D                                                O                                                AL
   N                                                 C TP                                                    T I
 CO                                              P A                                               D   EN
                                         IM                                              NF      I
                            IA  L                                                  C  O
                D   E NT                                              O   I N  T
       O   NFI                         
                                                          A  C
                                                 Iff the sanct   T
                                                           sanctio
                                                           sanction
                                                                   P consists only of a monetary
                                                                                                               N   T
                                                                                                       etary penalty  I   L
                                                                                                                        Apayable
     C                                             lesP than $300 and not more                            DEthen the Player
NT                   by the Playeryer of not   IM  less                                              F
                                                                                         e than $5,000,
                                                                                                N       I
                                  I    L Streamlined Appeal Process
                                    Athe                                                    O
                                                                               cess setCforth
                     must
                         E  N   T
                        ust follow                                            ocess
                                                                                  N  T     for   h in Section 8.3(k). If the
                      D                                                         I
                                                                             O a monetary
                N  FIsanction
                     sanctio    consists of anything greater      eater than
                                                                   C  T  P         m             penalty of between     een $300
                                                                                                                          T I A  L
            O                                                PA                                                DEN
                     and  $5,000,     then    the       ayer
                                                     Player    must   foll
                                                                      follow   the  Standard       Appeal    Process     set  fo
                                                                                                                              fforth
   I N TC            in ! 8.3(l).                I M                                                 F I
O                                         IALWhether the Player                                    ON
                                      T                                                    T    C
                          I D  EN      
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                 O   N  F
                     Stream
                     Streamlined       Appeal or the Standard               T P Process, the requirements N
                                                                  ndard Appeal
                                                                      A  C                                                  of the
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        I N T C Notice of Appeal are thee same.              me. P
                                                              I M                                                F  I DE
T PO                                      T
                                             TheI ASt L
                                                    Streamlined Appeal Process..                   T   C  ON
                                I D   EN                                                O    IN
                          N   F                                                T  P                                         i to TIAL
                       O                         The      purpose     of
                                                                         PA
                                                                           the
                                                                               C“
                                                                                “Strea
                                                                                  Stre
                                                                                “Streamlined          Appeal Process” is
                                                                                                                                   N
             I N T Cprovide an efficient and speedy                I M  reso
                                                                        resolution     to violations of the       e Rules
                                                                                                                        F I DE  and
                                                                                                                                a
     T P  O          Regulations that are essent
                                                        IA  L
                                                       essentially
                                                       essentia        minor in nature. If a Player         l O e N  utilizes the
A C                                             N    T                                                    T  C
                     Streamlined ed Appeal
                                       I D   E Process,
                                                     P            the appeal is to     o the Vice
                                                                                                O   IN Pr President, Rules &
                                                                                                          P
                     Competitions,
                            O
                                    F
                                N and if the penalty is imposed            mposed
                                                                                     C
                                                                              posed by  T  Ptthe Vice President, Rules &                 T  IAL
                  I N TC
                     Competitions,
                     Comp                 then the appeal will beM
                                                                         I     PAto the CEO & Commissionner
                                                                            made
                                                                                                                              F   DEN
                                                                                                                         er or Ihis

       C  T PO or her designated agent               ntt within
                                                            T  I  L (7) days of notification of the
                                                                 Asev
                                                                  seven                                               n N
                                                                                                                      O
                                                                                                             th penalty
                                                                                                                  penalty.
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     A                                              EN sending in the Notice                                   T
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MP                                     FID                                         otice of P      O
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                                                 Following
                                                 Fo                                                 Appeal,
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                                                                                                    Appea
                                  O    N(14) days to submit a letter                    A C    Texceed ten (10) pages. Thee                 N
                     have      C
                       ave fourteen                                         er briefP not  to e                                          E
                    O  INTmay attach exhibits to the letter                    IM                                                N  F ID
                                                                    IAL
                     Player
                     Playe                                              ter brief
                                                                             brief.
          A C  TP                                             N   T                                                   T  CO
  IMP                                   Upon
                                                      I DE receipt of the Player’s letter brief
                                                           rece                                      rief the
                                                                                                          P  O VIN President,
                                                                                                               Vice
                                                  F                                               CT ioner or his or her
                     Rules & Competition  ON or if applicable, the CEO &PCommiss
                                Competitions,
                                Competitions
                            I N
                     designated   T   C
                                     agent,
                                     ag        shall have fourteen (14)         d ysIM
                                                                             4 days
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                                                                                          issue a decision in connectio
                                                                                       to is                                      on
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                    T P  Othe applicable appeal.                          I A  L                                                   O N
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                     with
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       I                               "      ThereF shall
                                                     N       sha be no discovery in connection
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                     Streamlined
                                   I N   T C PProcess.
                               ined Appeal
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                         T P " The decision off theNVice                      IAPrL                                             or CO
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                    A C                                                E      T    President, Rules & Competitions        tions
                                                                                                                           ions o
                                                                                                                               N  T
            IM  P                                                   D                                                    O  I
                     the  CEO     &   Commissioner
                                             e shall O
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                                                                  his  or   her  designated       agent     sha
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                     binding, and there     re
                                            N  TC
                                                             no right of appeal from the decision
                                                                                                   I M   PA
                                          I
                                  O The Standard Appeal Process.
                                  P                                             cess. L                                                        NF
                              T                                                ocess
                                                                                   T  I A                                                C  O
                      P  AC                                               D  E  N                                               O  INT
                 IM                           The purpose            I
                                                                  NF of the claims and defenses
                                                             pose of    the  “
                                                                             “S
                                                                              S
                                                                             “Standard     Appeal      Process”    is
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                                                           C   O                                       efenses A     C
                                                   NTiin connection with the Finalal Notice. IMP
                     an efficient and thorough orough
                                                rough examiexamin
                                                           examination                                            prese
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                     LIV Golf and ndd the O     I
                                             Player
                                 C   T   P                                               T   I AL                                           T  CO
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                      IMP                                               N   FID                                              - 46P
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 HIGHLY CONFIDENTIAL C                      T
                                         - OUTSIDE               COUNSEL EYES ONLY               TIA               PLAYERS0000096T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 48 of 67
      FI        D                                                 O                                                  AL
    N                                                  C TP                                                      T I
  CO                                               P A                                                D  EN
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                 D  E  NT                                                O   I N  T
       O   NFI                                            C   T  Pof the Notice of Appeal,           al,, LIV N    T  I AL have
                                                       PA an Appeals Committee.
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                                                   Upon receipt                                                    Golf    ssh
                                                                                                                            shall
     C                                                                                                          E
NT                   fourteen (14)) days to      IMconvene
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                                                    co                                       ttee.
                                                                                               tee. The
                                                                                                    N   F  I D
                                                                                                             Appeals Committee
                                                                                                             App
                     shall          T
                         allll consistI AofL two (2) independent arbitrators      trators C
                                                                                 itrators
                                                                                         T  and O   a designee from LIV Golf.
                       D  ELI  N Golf designee may be a LIV                    O   fIN
                N    I
                     The      LIV
                   F directors. The arbitrators shal                    L V Golf
                                                                        T   P         official or member of the board
                                                                                      off
                                                                                      of
                                                                                                                                   ALby
                                                                                                                                 a of
                                                                                                                                 I
            O                                                 h
                                                                  A C
                                                                   be   s
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                                                                       se  lected    from   a list of  arbitra      rs
                                                                                                                 tors
                                                                                                                  ors
                                                                                                                      EN       T
                                                                                                                       identifie
                                                                                                                       identified
   I N TC            LIV Golf. Once the Appeals         I M   PCCommittee       is formed, it sh    hall  a FIDa Chair of the
                                                                                                      all appoint
O                                           I AL and the Chair shall promptly                         Ono  N
                     Appeals              T
                                     Committee,
                                 lss Committe
                                     Committee
                                                                                               T   C     notice a pre-hearing
                             I DEN
                     conference.
                     conference
                         F                                                        P   O   IN
                                                                                                                                       IAL
                 O   N                                                  A   C  T                                                 N  T
        I N TC                             At all times,mes, P
                                                               I M  the P Player has the right to be representedepresented
                                                                                                                     F  I DE by his
T PO                                                                                                             NPPlayer wishes
                     or her counsel,l, agent,Lman        manager or any other Person                n thatO    the
                                                T IA                                                  T   C
                     participate
                                         ENor her defense.
                                 pate in his
                                    I D                                                     O   IN
                       O     N    F                                              C    T  P                                                T IAL
                                                                            PA                                                   DEN
                                          "
                 T Cdesignated agent.
                                                   At  all  times,   LIV    Golf  shall
                                                                                  sha     be  represented         by  counsel
                                                                                                                            nsel   or its

          O  I N                                                     I M                                               N     F I
     T P                                                 IA   L                                                 C  O
AC                                        " EN
                                                      T                                                  NT the Appeals
                                          I D      During
                                                   Du
                                                   D              the pre-hearing conferenc            I
                                                                                               conference,
                                                                                               conference
                                                                                                   O
                                                                                               Pshall determine the date of TIAL
                     Committee,
                                O   NFwith
                                         w input from the Player and            nd LIV
                                                                                        C  T
                                                                                      LI Golf,
                                                                                           Golf

                  I N  TC
                     the     hearing,
                             he
                             h           the length of the hearing earing M
                                                                            I theP   A of witnesses and exhibits
                                                                                  number
                                                                                  nu
                                                                                  num                                       hibits   I
                                                                                                                              ibits and
                                                                                                                                   F   DEN
       C  T PO the place of the hearing,              ng,
                                                             T  I
                                                       g, as well ALas
                                                                     a a  any other matters necessa            ary
                                                                                                                ry for the
                                                                                                                       C  ON   fair and
                                                                                                                               fai
     A                                     ling of E     Nhe                                                       T
                                                                                                              IN bbe partially or
MP
                     efficient handling   dling      the   hearing. In addition, the hearing       earing may
                                              F I D                                                   P  O
                     wholly    y conducted
                                    C O   N vvia teleconference if either party            A      T sts that the hearing be
                                                                                              Crequ
                                                                                                reques
                                                                                                                                               E  N TIA
                         N
                     conducted T in such a manner, but the                        IM Co
                                                                         he Appeals
                                                                                 peals  P Committee must agree to such              chh a ID
                 P  O   I                                               de.L                                                         N   F
               T     request,
                     rre            which must be timely   mely    maA
                                                                      I
                                                               ely made.
                                                                                                                              C  O
       P  AC                                             D  E   NT                                              O   I NT(60) days
  IM                                      "
                                           "     The I
                                                NofF the Notice of Appealal by the APlay
                                                           hearing
                                                           he           shall   not    occur     later
                                                                                                  ater
                                                                                                         T Punless good cause
                                                                                                          than    sixty
                                                                                                                  sixt
                                                                                                                  six
                                            O                                                        C
                                                                                                                                                 DEN
                     followingwing theCfiling                                                 P    Player,
                                                                                                   Playe
                                I N   T otherwise.                                       I M                                                  F I
                    T  P  O
                     necessitates
                     necessitat
                     necessita
                                                                             I A L                                                     O  N
               AC                                                    N    T                                                      T  C
            P                             " Either          D  E   may make a request to the otherIN
       I M                                            ther party
                                                              I        m
                                                                                                                      O       party to
                                                                                                                              par
                                                                                                                              pa
                                                                                                                T Pe in writing. If
                     procure attendance  ndanceO    ofN anF Person at the appeal hearing
                                                        any                                         i g byCnotic
                                                                                                   ring
                                            T Cnot agree to do so, that party                            A
                                                                                                     P a written request to
                     either  er partyN
                                    O I  does                                         a     mayI M mak
                                                                                                   mmake
                                                                                                                                               N   F ID
                               P Committee to assist inn compellin
                     theTAppeals
                             Appe                                                       L
                                                                                    IA that attendance to the exten
                                                                             compelling                                          extent CO
                    A  C                                                  E  N  T                                                  N   T
            IM   P   that
                     t        it has the ability to do so under      D     applicable law.
                                                                           app
                                                                                                                             O   I
                                                             N    FI                                               C  T   P
                                          " TEither O
                                                      C party may make a request
                                                     ither                                      uestst to P    A oother party to
                                                                                                              the
                                             I N
                                         O ddocuments for the hearing.g. If Ieither                   I M                                           NF
                     produce
                          duce
                                   T  P
                              uce certain
                                                                                           A  L parparty does not agree to do
                                                                                                   part
                                                                                                                                               C  O
                     so,A      C party may make a written request        equest N   to T
                                                                                       the Appeals Committee to assist in T
                       P  that
                 IMcompelling the productionn of those                     I D  E
                                                                                                                                 P  O   IN
                                                                    N   F  documents
                                                                           doc             in connection with      th
                                                                                                                         CT
                                                                                                                             hearing.
                                                                                                                     h the hearing
                                                            C   O                                                  P  A
                                               O  I NT                                                       IM
                                        TP                                                      IA   L                                              CO
                                   A C                                                 E N   T                                                N   T
                       IMP                                                                                                                  I
                                                                          N    FID                                                - 477P
                                                                                                                                   T    -O
                                                                T  CO                                                    P   AC
                                                     O   IN                                                        IM
                                                  P                                                        L
 HIGHLY CONFIDENTIAL C                         T
                                            - OUTSIDE             COUNSEL EYES ONLY                 TIA                PLAYERS0000097T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 49 of 67
      FI        D                                                 O                                                 AL
    N                                                 C TP                                                    T   I
  CO                                              P A                                              D  EN
                                          IM                                             NF      I
                              IA  L                                                C  O
                 D  E NT                                              O   I N  T
       O   NFI                          #      At leastC
                                                         A     T
                                                              fourt
                                                                   P (14) days prior to thee hearing,Tthe
                                                              fourteen                                           N       I ALparties
     C                                           MP                                                      DE and factual
NT                   will each submit Ian             opening
                                                      o            brief containing the argume
                                                                                                N    F I
                                                                                                   arguments
                     assertions
                        sertions T  I AL which each party will rely
                                     upon                                      e y AtC
                                                                                     T      O
                                                                                          the   ssame time, each party is
                      D   E  N    to submit a witness list and listO            I N
                N  FIrequir
                     required
                     require
                                                                  C   T  P        exhibits to the Appeals Committee.
                                                                              of exh
                                                                                  ex
                                                                                                                                 AL
                                                                                                                            mittee.
                                                                                                                            T  I
            O
   I N TC                                #      At the P
                                                      I M
                                                               A
                                                             hearing,
                                                             hea          the Player will be         e allowed
                                                                                                           F   I DEtoN present
O                    evidence and               L and question any of thee witnesses
                                            Ashall
                                          witnesses,
                                     nd witnesses
                                          wit
                                           I   ne                                                  ONppu  put forward by LIV
                                       T                                                    T  C
                     Golf.
                         lf LIV
                         lf.
                           I D   EN   Go
                                      Golf           have     the    same
                                                                                      I
                                                                             opportunity
                                                                                   O    N      to
                                                                                               t     present        evidence and

                 O   N  F
                     witnesses
                     witnes         and to question any of the witness
                                                                      A  C  T P put forward by the Player.
                                                                            witnesses
                                                                                                                               N   T  IAL
                                                                                                                                     At

        I N T C the conclusion of the hearing,         earing,
                                                            I     P tthe Player and LIV Golf shall
                                                           ng, both
                                                              M                                               allll beD
                                                                                                                    F I     E to
                                                                                                                         entitle
                                                                                                                         entitled

T PO                                              AL ru                                                  ON
                     summarize the        e appl cable    rules and facts in a closing statement.tatement.
                                               T I
                                           N The Appeals Committee                                 T  C
                                  I D  E#                                 ttee willO     INthe right to ask questions
                      O
                                F
                           Nwitness put forward by any
                                                                             ittee
                                                                               C  T  P   have
                                                                                                                                        T IAL
               N T Cshall be at the discretion
                     of  any                                      ny
                                                                   I M   PofAthe Appeals Committee,
                                                                      party.   The   procedure       followed       at  thee
                                                                                                                                  EN
                                                                                                                             hearing
                                                                                                                            dIDthat
       P  O  I                                      on of the Chai Chair
                                                           La fair manner with reasonable
                                                                                                              ee, provided F
                                                                                                                      N for each
     T                                              T  I A                                                   C    O
AC                   the   hearing    is  conducted
                                           D
                                                         in
                                              EN and present his/her/its
                                                                                              nable
                                                                                               O    I NT
                                                                                                       opportu
                                                                                                       opportunity

                                 NF
                     party to present    I    evidence
                                              evi
                                                                                            P
                                                                                   er/its case
                                                                                        T
                                                                                            case.
                                                                                                                                                IAL
                              O                                                      C                                                       T
                  I N TC                # At all times,
                                                                         I M
                                                                s, the burden  PAof proof with respect to each             e
                                                                                                                                 F  I DEN
                                                                                                                                   rule

       C  T PO violation will rest with LIV             V Go A
                                                       IV
                                                          T  I f L
                                                               f.
                                                                                                                     C   ON
     A                                              EN                                                           T
                                                                                                          IN decision at the
MP                                      #FID
                                        #                                         all issue P    O
                                                                                           CT than fourteen (14) days ENTIA
                                                  The
                                                  Th Appeals Committee shall                          written
                                                                                                   a writ
                                                                                                      writt
                                    O   N                                               A
                     conclusion  C    of the hearing, but in any case,               P
                                                                               se, not   longer
                                                                                         longe
                                                                                         lon
                    O  INT the last conclusion of the hearin                   IM Post-hearing briefs wwillll not N                 beFI
                                                                                                                                         D
                     following
                     follow
               T P permitted, except thatt the Chair                    L Appeals Committee may requestCbbriOefing
                                                                    IAtthe
                                                                           hearing.
          A C                                                N    Tof
                                                          E The decision shall be a reasoned                        N   T
  IMP                                                I D                                                 P   O    I
                     on a specific issue   ssue or
                                               N   F issues.
                                                     issue
                                                                                                  C   T              decision,     and
                                           O
                                    TC                                                     PA                                                  DEN
                     communicated
                           municated         in writing
                                                w        to  both    parties.
                          O   I N                                                    I M                                                N   F I
                    T P                 #" The decision      on of the I A L
                                                                              Appeals Committee shall be
                                                                              Ap                                        e final C  and
                                                                                                                                   andO
               AC binding, and there shalll be noDright         E       T
                                                                   Nof appeal from that decision,                  a Ino   N  T
       I M  P                                              I                                               ion, and
                                                                                                                     O     o rig
                                                                                                                             r ht to
                     subject that decision       O  Nto Fany collateral attack in any
                                                         a                                    y way C
                                                                                                      A     Tf Pe any tribunal,
                                                                                                        befor
                                                                                                        before
                                               C
                                           T bbody.                                           M   P                                                 ID
                     court,
                                    I N
                            t, or arbitral
                                O                                                           I                                                N    F
                         T P  Decision of the                                IA  L                                                     O
                    A C                                                   N   T                                                   t T. C
                                                                                                                            OIaNrule
                                                               hee Appeals     Committee
                                                                               Co              as to Liability and Sanction
            IMPThe Appeals Committeee mayNrevers                       E
                                                               FID LIV Golf’s finding that a violation
                                                             reverse
                                                                                                                    T    P  of
                  occurred. In addition,
                                             N  T   C
                                                    the OAppeals Committee mayy reduce
                                                                                                   I M  PAorCeliminate any
                  sanction n imposed
                                T   P  OIby b LIV Golf.
                                                                                      I A  L                                                    O  NF
                         AC  Attorneys’ Fees                                    T                                                         C
                      P                                                   D  E  N                                                 O   INT
                 IM                                            ees
                                                                es  and I Costs.
                                                                          Costs    The  Appeals Committee may award
                                                                  NFprevailing party in the hearing                        T Ptever
                  costs and/or attorneys’’ fees to            O the                                     h           A inCw wha
                                                          C
                                                       T as the Appeals Committee                          M    P
                  percentage, whole    ole or inIN
                                              O    part
                                                   part,                                   ee            I
                                                                                             e finds appro
                                                                                                       approp
                                                                                                       appropriate.          Such an
                                      TP                                                     IA  L                                                 CO
                                A  C                                               E  N   T                                                 N   T
                      IMP                                                                                                                 I
                                                                        N   FID                                                 - 48P
                                                                                                                                 T     -O
                                                             T   CO                                                     P  AC
                                                   O    IN                                                       IM
                                                 P                                                     L
 HIGHLY CONFIDENTIAL C                        T
                                           - OUTSIDE            COUNSEL EYES ONLY               TIA                   PLAYERS0000098T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 50 of 67
      FI        D                                                  O                                                    AL
    N                                                  C TP                                                        T  I
  CO                                               P A                                                   D  EN
                                         IM                                                      NF    I
                             I A  L                                                      C  O
                 D  E   NT                                                 O   I N   T
       O   NFI award of costs and/or                           C    T  Pfees is not mandatory, and shall
                                                                                                                      N   aTIbe
                                                                                                                                  L
                                                                                                                               bA at the
                                                       PA
                                                 or attorneys’
     C                                                                                                         DE
NT                discretion of the  hee AppealsIMCCommittee.
                                               eals
                                                                                                       N   F I
                                    I A L                                                       C   O
                           EN T          Enforcement of Payment          ymentINT
                     I D                                                      PO                                                     AL
            O   NF                                                     C  T                                                      T I
     N TC
                                        
                     with a finding pursuant Ito
                                                  Anynyy
                                                          M    PA
                                                           fine,     attorn
                                                                     attorneys’      fees   or    costs   imposedsed
                                                                                                                    I
                                                                                                                         in
                                                                                                                           EN within
                                                                                                                              conne
                                                                                                                              connection
                                                                                                                      Dppayable
O  I                                                         tthese Disciplinary Procedures          ures shallF
                                                                                                             N    be
                     the time          T  I AL except that in the case of an appeal
                                  stipulated,
                             me stipulated                                                         T
                                                                                                  appeC  Osuch     payment shall be
                                E   N                                                        I N
                            ID pending the hearing of that
                          Fdate
                     suspende
                     suspended                                                       PO FFailure to pay that paymen
                                                                             hat appeal.                                            nt on L
                                                                                                                                   ent
               C O   N
                     the
                     th            that  it is  due     shall  l  be  a   A  C
                                                                         default,
                                                                         defaul
                                                                         default T    and    the   Player   shall   be     i
                                                                                                                          liable
                                                                                                                                 E N
                                                                                                                                  on    TIA
                                                                                                                                       that
          NT                                                           P
                                                                 IM or expulsion from LIV Golf                               ID
  P  O  I            default to immediate             suspension
                                               ate suspensio
                                                       L                                                           N
                                                                                                                events.
                                                                                                            olf events  F     There shall
                                                                                                                              Th
                                                                                                                              T
T                    be no right  ht of appealTIAfro from a suspension or expulsion              sion pursuant O
                                                                                                         T C to this provision.
                                       E  N                                                         I N
                            N  FID  The Player’s challenge             allenge to
                                                                                     C  T   P
                                                                                           the
                                                                                           th
                                                                                                Oliability or sanctions finding      ng or TIAL
                        O
                 T Cfindings                                                 PA                                                           N
             I N     ffi         contained in the Final Notice
                                                                       I M        sshall serve as acknowledgment        ment that
                                                                                                                                FI DEan any
     T P  O          fine imposed pursuant      uant toAthe
                                              suant
                                                         I     L Disciplinary Procedures constitutes
                                                             these                                                     O    sNa debt and
A C                                              N    T                                                        T  C
                     obligation  n owed E
                                        I D  to LIV Golf that is enforceable                              IN oof law. The Player
                                                                                               e in a court
                                                                                                      O
                       hereforeNwai
                      therefore
                              O
                                      F
                                     waives any jurisdictional orr other T
                                     waiv
                                                                                           C       P
                                                                                               challenge associated with the
                                                                                               challe
                                                                                               cha                                              T  IAL
                  I N  TC
                      enforcement
                      enforc
                      enfor              of any fine, and acknowledge
                                                                              I M
                                                                     acknowledges    PAthat LIV Golf may seek too enforce
                                                                                                                                     F  I DEN
       C  T PO any such fine or obligation             tion in any
                                                              T   I ALccou
                                                                         court of competent jurisdiction.         on.
                                                                                                                           C   ON
     A                                               EN                                                         IN    T
MP                                        F  I DDis                                                    P  O
                                                                                                                                                      TIA
                                        Other     Disputes Appeal Process.
                                 C  O   N
                                                                                           P   A   CT                                           E  N
                    O    INT                   The purpose off the IOther          M Disputes Appeal Process                   ss (theFID
                                                                                                                                        N
            C  T P “Other
                      “          Disputes Appeal Process”)     Process
                                                                      T I A”)Liiss to provide an efficientt and               nd C
                                                                                                                              T    O
                                                                                                                                  speedy
                                                                                                                                  spee
                                                                                                                                  speed

  IMP
          A          resolution to all Other D
                                                       I     EN If a Player’s dispute arisesO
                                                         Disput
                                                         Disputes.                                                     I
                                                                                                                   underdN the Other
                     Disputess Appeal     O   NF the appeal shall take place
                                             Process,
                                             Proc
                                             Proce                                              lacee asC  ToPs. First, the Player
                                                                                                         follow
                              I N
                     shall appeal
                             appea T toC
                                       t the CEO & Commissioner                 nerer or hisI M orPh
                                                                                                      A
                                                                                                    her designated agent within
                                                                                                                                               F IDEN
                    T   P
                     seven O (7) calendar days of the               he dateIA        L the date upon which he rece C
                                                                                 after
                                                                                 afte                                                  vedO N
               AC notification of the penalty                        E  N“O T                                      AppealIN If the
                                                                                                                                   T
       I M  P                                        enalty D
                                                               I  (the   “Other Disputes Notice off Appeal”).
                                                                                                                           O
                                          alendar
                                          alendar
                     seventh (7th) calendar       O   Nday Ffalls on a holiday or weekend,            nd, theCappe
                                                                                                     end,
                                                                                                           A      T Pal shall be due
                     on the  e nextN
                                    I     T C non-holiday weekday.
                                      immediate
                                      immed
                                      imme                                             ay.
                                                                                         y         I M  P
                                                                                                                                                     F ID
                                O
                           T P  After the filing ofN                                  L                                                     N
                    A  C                                                            T IA Disputes Notice of Appeal, the                   T CO
                                                                                                                                 OIoofNthe
                                                                               the    Other
                                                                                      O
            IMP Player shall have fourteen          teen (14)F        I DE days to file a letter brief                        P
                                                                    calendar
                                                                    calen
                                                         ON ten (10) pages. The brieff mayPattac                          T
                                                                                                                eff in support
                                                                                                                  AC exhibits and
                     Player’s position tion not  T   Cexc
                                                    to   exceed
                                                                                                           M     attach
                                            N
                                       OI of the brief. Again, if the                                    I
                     evidence
                                T   P support
                            ence n supp
                                      suppo                                                       L ((14th) calendar day falls CONF
                                                                                      he fourteenth
                                                                                             I A
                     on A  aC                                             eal shallN   beTdu                                            o - T
                       P
                 IMholiday
                             holiday
                             holid or weekend, the appeal
                             holi
                                                                             I D    E       due on the next immediate non-
                                                                                                                                   P
                                                                                                                                     non
                                                                                                                                       O  IN
                      h         weekday.
                                                                      N   F                                                   CT
                                                             C    O                                                  P    A
                                             O    I NT                                                         IM
                                      TP                                                            IA  L                                             CO
                                A  C                                                     E  N     T                                            N   T
                        IMP                                                                                                                   I
                                                                            N    FID                                                - 49P
                                                                                                                                      T    -O
                                                                 T   CO                                                       P AC
                                                     O    IN                                                          IM
                                                 P                                                           L
 HIGHLY CONFIDENTIAL C                      T
                                          - OUTSIDE                 COUNSEL EYES ONLY                  TIA                  PLAYERS0000099T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 51 of 67
      FI        D                                                 O                                                 AL
    N                                                  C TP                                                     T I
  CO                                               P A                                               D  EN
                                            IM                                              NF     I
                               IA  L                                                  C  O
                  D  E   NT                                               O   I N  T
       O   NFI                             There
                                                            A  C
                                                       here shall  T  P
                                                                     b no discovery in connection
                                                                     be                                   ction N
                                                                                                        ection    withT  IthALOther
                                                                                                                          tthe
     C                                                                                                      DE
NT                     Disputes Appealppeal ProcessIMP of any kind.
                                                 Proces
                                                                                                  N    F  I
                                     I     L
                                       A"                                               C  O
                            EN     T                 Upon receipt of theIN              T
                                                                                       Player’s
                                                                                       Playe
                                                                                       Pla        letter brief, the CEO          EO O &
                      I D                                                        O
                                                                             P aagent shall have fourteen (14) calenda             An L r
            O    NF Commissioner
                       Co                     or his or herr designated
                                                                     C   T                                                     T I
       TC                                                   onP    A appeal. The decision need          ed notD    beEaN
O  I N                 days to issue a decision    cision
                                                       on on
                                                          I M    the
                                                                                                              F I           rreasoned
                                                                                                          N if the fourteenth
                       one—thatt is, the de
                                             I    L
                                               Adecision
                                                 decisio       may be summary in nature.    ature. O
                                                                                                 C
                                                                                                       Again,
                                                                                                       Again
                                  EN      T                                                N  T
                       (14th)
                         4th) calendar
                             I
                               calenda
                               D
                                              day
                                              d     falls  on  a holiday    or   weekend,
                                                                                  eekend,
                                                                                      O  I  the
                                                                                            th   appeal
                                                                                                 a           shall be due on the

                   O  N   F im
                       next   immediate non-holiday weekday.        eekday.T P
                                                                         A  C                                                    N   T  IAL
        I N TC                            "                   I M  P                                      ioner F orID
                                                                                                                              E
T PO                                                                                                            N
                                                     The decisio
                                                            decision
                                                            deci  sio of the CEO & Commissioner          ssioner          his or her
                                                                                                                          h
                       designated    d agentT       IALbbe final and binding and there shall
                                                  shall                                            shT   CbOno right of appeal
                                                                                                          be
                                   I D   ENthe decision.                                   O   IN
                         O   N   F
                       off any kind     from
                                        fro
                                                                                   C T   P                                                 T IAL
                  T C Disqualifications. If a Player                   isP
                                                                                A                                          i fIDtE ,
                                                                                                                                        N
             I N
          O such Player (i) will not be eligibleIAtoLccon             I M     disqualified as a result of a rules
                                                                              di
                                                                              dis                                     es infraction
                                                                                                                       N    F
  C  T P                                                T
                                                                  continue to compete in the individual   d i Ocom
                                                                                                               C       o petition,
A              and (ii) will not be eligible        N
                                                 E to ccollect any Prize Money orr points            sIN    T
                                                                                                       that would typically be
                                       F   I D                                   pation inTsu P  O                                               IAL
               awarded             N
                               connection
                        d in connecti
                               O                 with individual participation
                                                                                        C   such Tournament. However, a                        T
                   I N  TC
                        disqualified
               Player disqu               from the individual
                                                                             I M
                                                                    al competition
                                                                       competitio  PA may continue to compete                         I
                                                                                                                               e in the
                                                                                                                              te
                                                                                                                                   F    DEN
          T PTeaO competition for anyy rounds
               Team
                                                                 I AL su subsequent to the round             ndd in whichON the
       C                                                      T                                                   T   C
MP
     A         disqualification occurred. urred.
                                             rred. The
                                                  I D  ENPlaPlayer’s score for the round         d in which
                                                                                                        O    IN hhe or she was
               disqualified cannot N           F
                                          be counted
                                                cou
                                                co           towards the Team’ss score for
                                                                                             CT that P
                                                                                                    ttha round. If, in the sole                     TIA
                                  C
                     etion ofTthe CEO
                                     O                                                  P  A                                             s ID  E N
               discretion
                    retion
                     O   I N         C        & Commissioner, a Player
                                                                                   IM a material breach of the Rules
                                                                           layer commit
                                                                                  commits
                                                                                                                                     N   F
               andPReg
                T    Regulations, then the CEO & Commissi
                                                                       I A  L
                                                                 Commissioner
                                                                 Commission           shall have the right, in his sole       so O
                                                                                                                              C  e and
                                                                                                                                     a
          ACabsolute discretion, to remove                  suEh NPlT                                           a INT.
  IM   P                                          move such
                                                        I D        P ayer from the applicable Tournament
                                                                                                               O
                                              O  NF unbecoming of a professiona                     C   T P in a deduction of
                                                                                                A                                               DEN
                               Fines.C   Behavior
                                           Beha                                              P
                                                                                      fessiona
                                                                                       essiona   will  result
                                                                                                       r
                    ayer’s O
               a Player’s      I NT Points and/or his or her TeamIsM
                            Individual
                            Indivi
                            Individ                                                                                                    b NFI
                                                                               ALdiscretion. The CEO & Commissioner
                                                                                           Team Points in amounts to
                                                                                           T                                        o be
                  C  T   P by the CEO & Commissioner           issioner T  inIh                                                      CO
                A
               determined
               determi
               determ                                        missioner
                                                                    E N        his                                              T
                                                                                                                      ommissioner
                                                                                                                      ommission
                                                                                                                          I N
       IMPshall, in his sole discretion,n, determine    N   FID the punishment imposed based                  se P
                                                                                                               T   o Othe
                                                                                                                   on   thh level of
               infringement and     d the gravity
                                             T   CO oof the offense committed byM                       AC
                                                                                                thePPlaye
                                                                                                      Player.
                                                                                                      Player
                                  O   I N                                                     I                                                 N  F ID
                        T P    Performance
                                 Per                  Enhancing Drugs   ugs
                                                                          gs Po
                                                                              Policy
                                                                                  icy   L
                                                                                    IAand Substance Abuse Policy. Playe               y CO
                                                                                                                                 Player
                     A  C                                                 E   N   T                                                 N   T
            IM    P
               agrees   to
                        t comply with the Perforrmance        mancen D  Enhan   ncing Drugs Policy and Substance
                                                                                                                              O
                                                                                                                          n Abus I
                                                                                                                                 Abuse
               Policy, including the dispute               O   NFI sections and arbitrationn provision
                                                         resolution
                                                 pute resoluti
                                                         resolutio                                               C
                                                                                                          provisionsT    Pcontained
                                               N
                                                       C
                                                    T for                                            I M   PAted by the CEO &
               therein, each of which shall,
                                              I        fo the avoidance of doubt, be promulga
                                                                                                                                                    NF
                           ioner.T
               Commissioner.
                          sioner  . PO                                                   I A L                                                 C O
                           AC                                                    E N   T                                                  NT
                        P
                  IM Alcohol Consumption.                                I D                                                     O   I
                                                                         F                                              CT P or
                                                              on    Consumption
                                                               n. Consum
                                                                    C onsum             of  alcohol     or   use  off  any     banned
                                                                                                                               banne
                                                 d duringC       O   N                                    er in P   A
                                                      NT
               substances is prohibited                        any   on-course activity, whether        her       competition
                                                                                                                  comp
                                                 O  I                                                       IM
                                        TP                                                     IA   L                                               CO
                                 A  C                                                  E N  T                                                  N T
                        IMP                                                                                                                  I
                                                                           N    FID                                               - 50P
                                                                                                                                    T    -O
                                                                T   CO                                                  P    AC
                                                       O   IN                                                     IM
                                                    P                                                     L
 HIGHLY CONFIDENTIAL C                          T
                                             - OUTSIDE             COUNSEL EYES ONLY              TIA                 PLAYERS0000100T
                   Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 52 of 67
     FI       D                                   PO                                                 I AL
   N                                          C T                                                  T
 CO                                         A                                               EN
                                        IMP                                      NF    I D
                               IA  L                                       C O
                   D  E  NT                                      O  I N T
                 I
           NFotherwise,                                        Pevent or activity; provided,                  L
       O                                                C   T                                d, thatN  mTIAate and
                                                  PA after any such on-course
                                             ment or Serie
                             at any Tournament         Series                                          moder
                                                                                                       mode
     C                                                                                            E
NT                                  umptionIM
               responsible consumption        of aal
                                                  alcohol                                  F I D
                                                                                  ourse activity
                                                                                       N       ivity or during social
                                    I  L
                                      Ath                                       C  O
                            EN    T
               functionss occurring    the
                                       thereafter   is permitted.
                                                                           NT
                       I D                                            O  I
            O    NF                                           C  T P                                         T  I AL
   I N TC                                          I M  PA
                                                                                                 F I DEN
O                                        IAL                                             ON
                                       T                                           T  C
                           F I DEN                                      P  O  IN
                                                                                                                       IAL
                   O   N                                         A C  T                                         N   T
        I N TC                                           I M  P
                                                                                                       F I DE
T PO                                        T IAL                                        T  C   ON
                                  I D  EN                                       O   IN
                         O   N   F                                      C  T P                                           T I AL
             I N   TC                                          I M PA
                                                                                                            F I DEN
     T P  O                                         I A L                                            O  N
AC                                               T                                                 C
                                       I D  EN                                        O   I NT
                               O  NF                                         C  T  P                                          T  I AL
                    I N  TC                                        I M  PA
                                                                                                                  F I DEN
       C  T PO                                         T  I AL                                          C  ON
                                                                                                     T
MP
     A
                                           FI DEN                                        P  O   IN
                                  C O  N                                        A CT                                          E  N  TIA
                           NT                                           IM   P                                            ID
                      O   I                                                                                         N   F
          A C  TP                                         N  T  IAL                                        T CO
  IMP                                             I DE                                         P  O   IN
                                                F
                                    T  CO
                                            N
                                                                                  P   ACT                                       DEN
                            O  I N                                           I M                                          N  F I
                      T  P                                          I A L                                          C   O
               AC                                            E  N T                                          NT
       IM   P                                           I D                                             O  I
                                              O  NF                                         A C   TP
                                    I N  TC                                        I M  P
                                                                                                                                   F ID
                            TP   O                                          L                                                 N
                      A C                                           N  T IA                                           T  CO
            IMP                                             F I DE
                                                                                                       T   P OIN
                                                       N
                                           N  T  CO
                                                                                         I M  PAC
                                 T  P  OI                                     I A L                                              O  NF
                            AC                                              T                                                 C
                        P                                           D  E N                                         O   I NT
                   IM                                        NF   I                                          TP
                                                       C  O                                         P  A  C
                                              I N   T                                          I M
                                   C  T  PO                                      T  I AL                                            CO
                                 A                                         E N                                             I N   T
                         IMP                                      N   FID                                         - 511P
                                                                                                                  T     -O
                                                          T  CO                                           P  AC
                                                O    IN                                              IM
                                              P                                              L
 HIGHLY CONFIDENTIAL C                     T
                                         - OUTSIDE          COUNSEL EYES ONLY          TIA              PLAYERS0000101T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 53 of 67
      FI        D                                                O                                                  AL
    N                                                 C TP                                                      T I
  CO                                              P A                                                 D  EN
                                            IM                                              NF     I
                                IA  L                                                 C  O
                  D   E  NT                                              O  I N   T
       O   NFI                                              A  C   T  P
                                                                                                                  N   T I AL
     C                                                                                                      DE
NT             Ȁ!Ā ADDITIONAL PROVISION
                                                   IMP
                                                 OVISION
                                            PROVISIONS
                                                                                                   N    F I
                                    T IAL                                                  C  O
                        N
                       I D   E    Playe
                                  Player   Equipment.
                                                                              O    I NT
                 NF                                                     T  Pset forth in this Section 9.1,, each Player       I   L
                                                                                                                                Awill
            O                          
                                                                   A
                                                 Except ass otherwiseC                                                  N   T
                                                                                                                         Playe
   I N T C have full authority to selectIM                  thePparticular    golfing equipment forF            I DhETournament
                                                                                                               each
O                                            I AL                                      plicable C     ON of the United
                    so long ass such equipm
                                      N    Tequipment        conforms to all applicable
                                                                                              T    regulations
                                                                                                   regula
                    States
                              I
                        tes Golf
                      ates      DEAssociation,
                                    Ass
                                    As                R&A and/or the OfficialO           IN of Golf.
                                                                                        Rules
                                                                                        Rule
                   O   N   F
                                                                        A  C  T   P
                                                                                                                              N  T  IAL
        I N TC                                Limitations
                                                           onss
                                                                IM   P
                                                                                                                    F I DE
T PO                                        TIEach AL Player shall be requiredd to use
                                                     Eac
                                             N during the entire round,                               T  C
                                                                                                         the
                                                                                                                N brand, type
                                                                                                            Ossame
                                    I D   Ebball                                           O   IN
                       and
                         nd model
                         O    N   F      of
                                                                                 C   T  P
                                                                                      comm
                                                                                nd, common
                                                                                      commonly   l referred to as the “one-
                                                                                                                                       T IAL
                  TC                                                       PA                                                 DEN
                       ball   rule.”
                              ru

          O  I N                                                      I M                                             N   F I
     T P                                         EachAPla
                                                          I   L shall utilize no more thanCaOmax
                                                             Player
                                                             Playe                                                   maximum        of
A C                                                 N  T                                                    T
                       fourteen (14) ( 4)
                                             DE whi
                                       4) clubs,
                                           I
                                                    which may be based on any configuration
                                                                                                 O     IN oof clubs.
                                O
                                        F
                                    N  “Loft & Lies” limitations                   C  T  P                                             T  IAL
                      N  T   C                                          mitation
                                                                           I M   PsAwill be imposed in accordance with
                                                                          itations
                                                                                                                                  I D  EN
            P       I
                O tthe existing applicable equipment                 L Rules stipulations of the United States
                                                                             st                                            tN GoFGolf
          T                                                      I A                                                  C O
     AC                                                ENT                                                     NT
                       Association,       R&A     and/or    the   Official
                                                                  Of                of  Golf.
MP                                                I D                                                    O   I
                                      O    "F No Player shall utilize a “green
                                           N                                               A C   T Preading” book at any                       N  TIA
                                    C                                                   P                                                   E
                      O   INT
                       Tournament.
                       Tournam
                       Tourna                                                     IM                                              N   F ID
               TP                                                         L
                                                                       IAthe                                               CO
          A C                                                N
                                                 LIV Golf reserves  T          right to perform random        dom N     T
                                                                                                                     checks    on all
  IMP                                                   I DEduring a Tournament too ensure that                O   I
                    equipment utilized     edd by aF
                                             ON
                                                      Player
                                                      Play
                                                      Playe
                                                                                                     C   TP     such
                                                                                                                s       equipment
                    conforms ms to T
                                I  N
                                      theCrequirements
                                            req                 set forth in this Sect ect on
                                                                                        IM   P  9A
                                                                                                 ..1.
                                                                                                   1
                                                                                                                                           F IDEN
                      TP
                             O Team Uniform. Each Team                      I
                                                                    TeamTwill A  Leendeavor, when possible,, to wearCO                 N
               AC                                                                                                          NT
                                                                                                                                     a
            P                                                   D   E  N                                             O   I
       I M     si
               similar-color shirt for each competition       I
                                                       ompetition
                                                        NF
                                                                       d
                                                                       day.
                                                                                                               TP
                                                    O                                                    A C
                                Insurance.
                                   nsurance
                                       I N   T CAAs a condition of entry in any                 M    P each Player must
                                                                                           Tournament,
                                                                                        ny Tourname
                                                                                             ournam
                                                                                              I                                                  F ID
                                P  O                                                   L                                                    N
               furnishh evidence
                      A C   Tpersonal  acceptable       to  LIV   Golf  andd
                                                                            N
                                                                             Senior
                                                                                T  IAliability or claim that mayy arise from
                                                                                        Management
                                                                                        Mana
                                                                                        M                  that   such   Player  has
                                                                                                                                 ha
                                                                                                                                    T  CO
                  P                                                    DE in minimum amounts                               OINfor
               obta   ned                liability   insurance cee covering   any
                                                                              an                                                    m
            IM his or her participation in such
               h                                              N    F I
                                                            Tournament,
                                                      uch Tournam
                                                            T ournam                                       ts
                                                                                                            s  of    T  P
                                                                                                                   $1,000,000
                                                                                                                   $1,000,0
               each occurrence with LIVTGolf           CO(and such other affiliated entities            i P assAd
                                                                                                                 C
                                              I N                                                     I M
                                                                                                    tities      designated from
               time to time me by LIV
                                   T  PIVO Golf or Senior Management) named
                                           Go
                                           Gol
                                                                                           A
                                                                                     amed as
                                                                                         I   L an additional insured under CONF
                            ACEEach Player must indicate theDname              E   NoofT the insurance company and theNT
                        P                                                                                                        OiorI
               such
                  ch policy.
                   IM of the policy by which suchN
               number
                  mb                                                    FI is insured, or otherwisee provide
                                                                      Player
                                                                      Playe                                               dT SP
                                                                                                                              Sen
                                                rtificateTofC
                                                                 O                                               P   AC
               Management with a certificate  ertificate
                                                 O   IN
                                                               currency.
                                                              ccu
                                                                                                            I M
                                         T   P                                                 I A   L                                            CO
                                   A C                                                E  N  T                                              N   T
                         IMP                                                                                                             I
                                                                          N   FID                                              - 52P
                                                                                                                                T    -O
                                                                T   CO                                                 P   AC
                                                       O  IN                                                      IM
                                                    P                                                     L
 HIGHLY CONFIDENTIAL C                          T
                                             - OUTSIDE             COUNSEL EYES ONLY               TIA                PLAYERS0000102T
                      Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 54 of 67
      FI        D                                                   O                                                  AL
    N                                                   C TP                                                      T  I
  CO                                                P A                                               D    EN
                                            IM                                                 NF   I
                              I A  L                                                    C  O
                 D  E   NT                                               O    I N   T
       O   NFI  Pace of Play.                                C   T  P
                                                                                                                     N   T  I AL
NT
     C
                                                   IM    PA                                                 I DE
                                      L Time                                                     N th F
                                  T  I A        Tim Allowed. At each Tournament,        ournament
                                                                                         urnament
                                                                                              C  O       tthe Chief Referee will
                  publish
                     I D   EaNchachart (the “Time Allowed Chart”)             art”)
                                                                                 O     NT wwill be posted on the officia
                                                                              art”) Iwhich                                             fic l
                   F board as well as the “holele location”
                Nnotice
                  notic                                                 T    Pshsheet provided to each Player.           er TheT IA   Ti L
                                                                                                                                      Time
            O                                                      A C                                                           T
                                                                                                                            Nh hole at
   I N T C Allowed Chart will identify           entify  y theP
                                                          I M   max
                                                                 maximum        time permitted to complete  o
                                                                                                                F  I DteEeac
O                 the Tournament.      nt. TheLttotal amount of time may vary
                                             IA difficulty of a particular                            ON holes, depending
                                                                                              y as between
                                         T                                                      T   C
                  on thehe length
                            I D   EN  and/
                                      and/or                                      ar
                                                                                   r  hole
                                                                                       O   I N overall time allocated to
                                                                                            and   the
                  theN
                  O
                          F Additional time may be added
                        round
                        round.
                                                                        A   C   TtooPa hole which is considered difffficult       ficult or
                                                                                                                                    N   T  IrAL
        I N T C lless likely to cause delays. Inn addition,   a tiPn anticipated time needed forr Players
                                                                I M                                                    F  I DrsEto walk
T PO                                                  AL hol                                                  ON
                  from greens to tees       ess at each      hole will be included in the to        otal timem     allo ed.
                                                                                                                   allow
                                            N   T   I                                                 T    C
                                   I E Out of Position. If, at any
                                     D                                             ny timeO      IN a round, the first groupp
                        O   NtheF                                                  C   T   P   during
                                                                                               duri
                                                                                               durin
                                                                                                                                              T IAL
               N
                     C
                    xceeds
                  exceeds
                 TAllowed
                               t     time     allotted     to  play  for
                                                                      I M   PA
                                                                           any    partic
                                                                                  parti
                                                                                  particular    hole  (as    detailed     in   the
                                                                                                                                 (“ID
                                                                                                                                        EN
                                                                                                                                      Time
                                                                                                                                      Ti

       P     I
          O Position”). Any following
                  A           Chart), the first group    roup will be      considered as being out of positionF(“O
                                                                          cco
                                                               Lwill be considered as being
                                                                                                                                    Out of
                                                                                                                         N if, at any
     T                                                  T  IA                                                    C    O
AC                                        ollowing
                                            llowing
                                            D      N
                                                Essu
                                                        group                                      ng
                                                                                                   O
                                                                                                       O
                                                                                                       I NT interval behind
                                                                                                       Out ut  of P
                                                                                                                  Posi   tion
                  time during             I
                                   NF it and such following
                              ing a round,        such following group is more
                                                                                                 P
                                                                                         re than the
                                                                                             T
                                                                                                        sst
                                                                                                         starting
                                                                                                                                                      IAL
                  the groupO                                                              C                                                        T
                           C                                                       PinAthe Time Allowed Chart).                            DEN
                                 pre
                                 prec
                                 preceding                                  ng group      has  e
                                                                                               exceeded       the  time     allowe     d for
                  I N  Tnumber                                               I M                                                      F  I
            PO
                  the               of holes completed          d (as detailed
       C  T                                                   T  I AL                                                T  C   ON
MP
     A                               
                                               F   DEN and Timings.
                                                Monitoring
                                                Monitorin
                                                 I                                                    P    O   IN
                                  C  O   N
                                                  A group that becomes         mes P
                                                                                omes      OutA  CofT
                                                                                                 o Position for any reason                on
                                                                                                                                           n       E  N  TIA
                    O    INT will be subject to immediateIm                           M                                       dvisedN     byFI
                                                                                                                                               D
                      whats
                      what
                      whatsoever
               T P the timing official overseeing                           L
                                                                       IATTournament
                                                                                      monitoring     and will be so advised
                                                                                             (the “Timing Official”)T C
                                                                                                                                     O
          A C                                           rseeing
                                                                 N
                                                         seeing suchT
  IMP                                                    I DE                                                 P  O    IN
                                                      F                                                   T and the group
                                             ONIff the gap between a particular
                                                                                         rticularCgrou
                                                                                           articular     group
                      preceding
                               I N   T   C
                                      it is significantly large (in the        e TimingIM       P
                                                                                             Offic
                                                                                                   A
                                                                                             Official’s discretion), the Timing             g
                                                                                                                                                  F IDEN
                    T   P  O may decide to start timing                       I A  L without any prior monitoring                          O  N
               AC
                      Offic
                      Official                                    ming such
                                                                           T      grou
                                                                                  gro
                                                                                  group                                      toring
                                                                                                                             to         C
         M  P                                                  I D  E N                                                 O    I NT
       I                                   A group
                                                         N   F will
                                                                 w continue to be subject to                    T P until it has
                                                                                                           monitori
                                                                                                       o monitoring
                                                                                                           mo   nitoring
                                                    O                                                     A  C
                      regained              T C oor is within the time alloweed. IMP
                                 d its position
                                     I N                                                                                                                F ID
                                  O
                           T P " During any round,                                     L
                                                                                       A group regains its position
                                                                                     Iany                                              after CO
                                                                                                                                                   N
                    A  C                                               ound,
                                                                         und, if
                                                                          E   N   T                                             on n afte
                                                                                                                                       N   T
            IM  P                                                     D                                                         O    I
                                                              NFIOfficial (“Timed”) instead
                      being    monitored        and    again
                                                           ain
                                                             n subsequently
                                                               subsequen            falls Out   of Position,     suchc   g
                                                                                                                         group      will  be
                      officially timed by the O             Timing
                                                            Timin                                    ead ofA        C
                                                                                                                  beingTP    subject to
                                                   T    C                                                    P
                      monitoring ring for a
                                        O    INseco time.
                                               sec
                                               second                                                 IM                                                 NF
                                 T   P                                                     I A  L                                                  C  O
                           AC                                                    E   N   T or fails to gain any time after                   NT
                       P                  "
                 IMfirst hole of monitoring, such
                                                     If a group loses es further
                                                                            I D       time
                                                                                      tim                                           t the
                                                                                                                                   fter
                                                                                                                                        O  I
                                                                    NF must play every subsequent
                                                             uch grou
                                                                   group                                                h T
                                                                                                                   nt hole      in P u
                                                                                                                                     under
                                                              C  O                                                  P  A   C
                      the scheduled time      ime
                                               me to avoid
                                                    I N    T bbeing Timed.                                    I M
                                    C   T   PO                                                 T I AL                                                    CO
                                 A                                                      E  N                                                    I N   T
                        IMP                                                N    FID                                                  - 53P
                                                                                                                                       T    -O
                                                                 T  CO                                                     P   AC
                                                       O   IN                                                        IM
                                                   P                                                        L
 HIGHLY CONFIDENTIAL C                         T
                                            - OUTSIDE              COUNSEL EYES ONLY                TIA                  PLAYERS0000103T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 55 of 67
      FI        D                                                  O                                                    AL
    N                                                   C TP                                                       T  I
  CO                                                P A                                                  D   EN
                                           IM                                                   NF     I
                               I A L                                                     C  O
                 D   E  NT                                                  O   I N T
       O   NFI                            "
                                                              A  C
                                                     Iff it becomes
                                                            becom   T    Papparent during monitoring         r ng thatN  ToneI AorL more
     C                                               areP                                                       DEving the group’s
NT                    Players of a groupIM                  not making any contribution
                                                            n                                      on to F
                                                                                                 tion
                                                                                                       N      I
                                                                                                            imp
                                                                                                            impro
                      overall      T
                           erall pace
                        verall       I AofLplay,
                                            p        then it may be determi        mined that t CO   only such Players are Timed,
                      I D   EN                                          oup willO    I  NT to be monitored.
                                                                                                                                     AL
                      while    the
                               tth other Players of the group                      continue
                                                                                   contin
                                                                                   conti
                 NF                                                     C   T   P                                                T I
       TC   O                                                       A monitoring who, duringg a round,                      N two
   I N                                    " A PlayerPduring
                                                           I M     dur
                                                                                                                 F I DE
                                                                                                                 round     records
                                                                                                                         , rec
                                                                                                                           reco
O                     (2) individual ual stroke
                                            I     L timings
                                             Awithin     tim         that exceed the limit      mit ofO      N ((40) or fifty (50)
                                                                                                           forty
                                     N   T                                                        T   C
                          condsE
                      seconds
                             I D
                                   but   are
                                         a                 the   10%   Allowance,   e
                                                                                    e,, will
                                                                                         O   I
                                                                                             beN  advised
                                                                                                  ad
                                                                                                  advi       by the Timing Official

                  O   N
                      thatF he or she will be Timed.
                                                                           A   C  TP                                               N   T  IAL
        I N TC                            " If any           I M   P or group is transferredd from moni
                                                                                                                        F I DE to
T PO                                                                                                            ONby the Timing
                                                          a     Player
                                                                Playe                                                   monitoring
                                                                                                                        mon
                                                    I A   L                                                  C
                      timing, such uch
                                     ch Player
                                            N   T      or group, as applicable, willl be soTadvis          advised
                                                                                                           advise
                            icial. IDE                                                          O   IN
                      Official.
                        O
                         fficial.
                             N   F                                                  C   T  P                                                T IAL
                 TC                                                            PA Official will inform all Players      PlayersID   inE
                                                                                                                                          N
          O  I N                          #       In all cases,
                                                                ases, the
                                                                         I M  Timing
                                                                              Tim
                                                                                                                               F        the
                                                                                                                                        th
       P              group before the Timing A                  L starts monitoring or timing              ng but O   notN
A C  T                                              N    T  I Official
                                                              Offic
                                                              Officia                                      ing
                                                                                                                T C         necessarily
                                                                                                                            n
                      when he orr she stops
                                          I DE monitoring or timing.                                  O   IN
                               O
                                       F
                                   N # When a Playerr or groupAisCsubject                    T   P                                             T  IAL
                            C                                                       P                    to monitoring or ttiming,   ming, EN
                                                                                                                                     ming,
                   I N  T                                                      I M                                                    F IDy
          TP    O                                                      L
                      every effort will be made to inform the following group but it is not                                 manda N
                                                                                                                        ot mandator
                                                                                                                             O group.
       C                                                    N  TtoIA                                              oT     Cown
     A                and each Player iss obliged                   know
                                                                    kn
                                                                    k        the relative position off his or
                                                    DEwhich fails to maintain position PwillOaalalmost          I N   her
MP                                            F   I
                                                                                                                                                       TIA
                      A group so     o informed                                                                            certainly be
                                     O    N                                                    A  C   T                                             N
                      subject to   C  monitoring or timing.
                                      mo                                                   P                                                     E
                     O   INT                                                        IM                                                  N  F ID
            C  TP                         #                mings Iwill
                                                     All timings
                                                                       T   ALccount on a Player’s record              cord, where
                                                                                                                      cord,
                                                                                                                            T    COr s
                                                                                                                                 w
                                                                                                                                wherea
          A                                                 DE    N                                                    IN
  IMP                 monitoring will not.        t.
                                                  t.
                                                      F   I                                                 T   P O
                                     T      ONThe League reservess the P
                                         C#                                                       ACto                                             EN
                                I N                                                        I M    right          utilize automated
                                                                                                                                                F ID
                        P   O                                                       L aany subsequent action required.            quired. N
                                                                                                                                       CO
                      technology
                      technolo
                      technol           to monitor pace of play           ay
                                                                           y and guide
                 C   T                                                       T  I A                                                T
               A                                                         N                                                     N
       IMP                     Individual Timings
                                                          N   F IDE monitoring or timing willTbePO
                                                                Individual
                                                    mings Individ                                                            I by the
                                                                                                                         taken
                                                                                                   roup AC
               Timing Official on one
                                            T   CO (2) or three (3) players in a group
                                              (1),
                                         ne (1)1),, two                                          grou
                                                                                                     M  P                                               ID
                                  O   I N                                                          I                                             N    F
                               P
                           Tarea,    
                                               For     tee  shots,    Players rs will  beL
                                                                                     IAof three (3) seconds theereafter.
                                                                                           given
                                                                                           g         Sufficient   Time    to   reach    the
                                                                                                                                            CO
                     A C                                                        N  T                                                     T
            IMP                                                          DE                                                     OIN
                   teeing
                   teein            tee   his  or   her    golf  ball
                                                                   all and    a count
                                                                                cou
                                                                                coun                                            f
                                                                                                                           reafter. r
                                                                    F  I                                                T   P
                                                      CO  reaN          the green, the time will startAwhe        C the Player
                                              N
                                                Before
                                                    T        reaching
                                                             reac
                                                                                                         I M   P    when
                   has had Sufficient
                                  T  P   OITime
                                 ufficient   Tim to reach his or her ball, pace          ace and calcu
                                                                                             I A  L   calculate his or her yardage
                                                                                                      calcul
                                                                                                                                                    O  NF
                   and        C of
                     nd a count
                           A         o three (3) seconds thereafter.
                                                                                     N   T a Player be distracted byy the
                                                                              after. Should                                              he T    C
                       P
                   M Players, caddies or any outside
                  Iother                                                      I D  E                                      nss forP  hO    IN
                   othe                                                    F influence
                                                                             influe        during the preparations
                                                                       N and will not restart until                         CPlT
                                                                                                                                    hiss or
                   her stroke, the stopwatch         tch wi C
                                                   atch        l beO  stopped
                                                                      sto
                                                                      st                                       u
                                                                                                                     P  A
                                                                                                                     such    P ayer has
                   again reached               O
                                     d the point     I NinThis or her preparations when         whe he  h orIsh  Me was previously
                                        TP                                                          IA L                                               CO
                                  A C                                                    E  N   T                                               N   T
                        IMP                                                                                                                   I
                                                                              N   FID                                                - 54P
                                                                                                                                      T    -O
                                                                  T   CO                                                    P  AC
                                                         O  IN                                                        IM
                                                    P                                                         L
 HIGHLY CONFIDENTIAL C                         T
                                            - OUTSIDE               COUNSEL EYES ONLY                  TIA               PLAYERS0000104T
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 56 of 67
     FI        D                                               O                                               AL
   N                                                C TP                                                  T  I
 CO                                             P A                                             D  EN
                                        IM                                              NF    I
                            IA  L                                               C   O
                D  E  NT                                             O   I N T
       O  NFI distracted. Weather cond A                  C
                                                        tions
                                                                 P as wind or rain are not regarde
                                                             Tssuch                                          N   T
                                                                                                            regard IALas an
                                                                                                            regarded
     C                                             P                                                  DE
NT               allowable distraction
                                  traction
                                   raction and IMtth
                                                   the stopwatch will continue to run.
                                                                                             N    F I
                                  I A L                                                C  O
                         EN T            For short shots around            NTgre
                                                                       ound Ithe
                                                                      round          green, the Player will be give          v n
                  F I D                                                 PremO                                            I    L
                                                                                                                           Athe
           O   NSufficient
                 Suffic       Time to reach his or herr ball,
                                                                C   T     emove any loose impedimentss from
                                                                                                                      T
                                                                                                                  N a count
     N T C surface of the green, inspect       nspect
                                                      M
                                                   ect the
                                                    I     PA  green surface, start assessing the
                                                              gr
                                                              gre
                                                                                                           I DEand
                                                                                                       th line
O  I                                                                                                    F
                 of three (3) seconds
                                   con
                                     onds
                                      T
                                        ds the
                                         I    L
                                          Atherea
                                             thereafter.
                                                                                         T   C  ON
                        F I DEN           Except as set forth             P
                                                                      h below,  O   INtime on the putting green willi L
                                                                                  the
              C  O  N
                 commence
                 com            after the first Player   yer has A  had    T opportunity to replace hiss or her
                                                                        Caan                                          h Nball
                                                                                                                      E      TIA,
           T                                                    P
                                                           IM been marked, the first PlayerNhas                   D
  P  O  IN the balls of all other Play         Players have
                                                   L                                                           FIbeen given
T                Sufficient Timeme to reach  TIAa position to start assessingg his       h orTher      O
                                                                                                   C putt and a count of
                                     E  N                                                 I N
                              F ID thereafter. However, onn a Tputt
                 three (3) seconds
                          N                                                        P   O   less than two (2) yards, the
                                                                                       of le
                                                                                           les
                                                                                                                                    IAL
                   C  O
                 timing   will
                          w
                          wi   start   as   soon   as   the  Player
                                                               ayer        A C
                                                                        stands  up,
                                                                                u     having    replaced      (or ha    n
                                                                                                                    aving
                                                                                                                            EN
                                                                                                                            had   T
              N TSufficient                                       M
                                                       is or herIball
                                                                       Pand                                        t FID ter.
       P    I
         O Please Note: Thee time taken
                 S            Time to replace) his
                                                          L
                                                                             a count of three (3) se    econds therea
                                                                                                                 N thereaf
     T                                            T  I A                                                 C   O
AC                                          E  N          to
                                                          t   repair    ball marks    and   other
                                                                                                 I N  T
                                                                                                    relevant     damage     and
                 the removal
                               N    FID iim
                           oval of loose      impediments will not count
                                                                                         P   O of the stroke.
                                                                                ntt in the timing
                                                                                   C  T
                                                                                            timin
                                                                                                                                       T  IAL
                            O
                      T C  Time Extension.n. OnnIonly                        A (1) occasion during eachh round,Da EN
                                                                             Poon
              O  I N                                                      M    one
                                                                                                                           FI
           P                                                 A  L                                                 vON
                                                         TIbefore the expiration off the time
                 Player may request a time         e extension       of an extra forty (40) secondss provided          e such
  P  ACT         request is made by the E            N
                                                  Playe
                                                  Player                                             t INT
                                                                                                                C
                                                                                                             allo
                                                                                                             a l wed for the
M                stroke.              N    FID                                          C   T   PO                                           TIA
                               C  O                                                P  A                                                E  N
                   O   INT  For purposes of thi                           IM 9.5, “Sufficient Time” means         eans N  theFI
                                                                                                                                   D
                                                                 IaatAaLnormal pace to the ball or tee. TThe
                                                                           Section
                                                                    this Sectio
                                                                             ctio
         A C  T Ptime necessary for a person      son
                                                            N
                                                   on to walk  T                                                      COfore,
                                                                                                                   There
  IMP                                              I DtoEhis or her ball may have additional          P  O    IN
                 a Player who walks    lks
                                             N   F
                                        ks quickly                                                         time to prepare,
                                                                                                           tim
                                                                                               CThave less time as the
                 whereas a Player
                               Player
                                  T  CO   who strolls slowly to his or her ball
                                          wh
                                                                                     M  P   A
                                                                                            ma
                                                                                            may
                                                                                                                                        IDEN
                         O
                 stopwatch  I Nmay
                               m      have    already    started.                  I                                              N   F
                   T  P                                                  I A L                                              C  O
              AC  Bad Time.                                  E N    T                                              NT
       I MP                                               I D                                                   O  I
                                                O  N   F
                                                                                                   A  C  TP
                                   T Time C Allowed for Each Stroke. MP                                                                    ID
                               O   I N                                                   I                                             N    F
                         T P  The time allowed                                  L
                                                                              IAeach                                    conds. CO
                   A C                                           owed
                                                                    wed for
                                                                      E  N  T   eac stroke is forty (40) seconds.       conds
                                                                                                                           N  T
           IM  P                                                 D                                                   O   I
                                                          NFanI additional ten (10) seconds
                     However,     the   first  Player  r to  play   a  stroke
                                                                       st
                                                                       str     on   a  Par  3  tee,  an  a pproach   h sh
                                                                                                                       shot   or
                                                                                                                T P
                     chipping or putting
                                           N
                                             ng will O
                                           ting
                                               T  C   have
                                                                                                I M   P C
                                                                                                conds A  (totaling
                                                                                                         (total
                                                                                                         (totalin    fifty  (50)
                     seconds).s).
                              T   P  OI                                             I A L                                                 O  NF
                         AC                                                   N  T (10%) of the time allowedd wouldNT                  C
                     P                      A time within ten percent   E                                               OI
                IMnot, of itself, be a “Badd Time”N(the             FID“10% Allowance”). For clarity,CTtheP10               10%
                                                     T   CO                                             M   PA
                                                I N                                                   I
                                  C  T  PO                                              T I AL                                               CO
                              A                                                  E  N                                               I N   T
                      IMP                                             N    FID                                            - 55P
                                                                                                                           T   -O
                                                            T  CO                                                 P  AC
                                                  O   IN                                                     IM
                                               P                                                     L
 HIGHLY CONFIDENTIAL C                      T
                                        - OUTSIDE            COUNSEL EYES ONLY                TIA                PLAYERS0000105T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 57 of 67
      FI        D                                                   O                                                    AL
    N                                                   C TP                                                         T I
  CO                                                P A                                                  D  EN
                                           IM                                                   NF     I
                              I A  L                                                    C  O
                  D  E   NT                                              O     I N  T
         O  NFI Allowance allows for               or a timeCof   T    P
                                                                                                                       Nty T   I    L
                                                                                                                                 A-second
                                                        PcoA for a fifty (50)-secondd shot. IDE
                                                                      fo
                                                                      forty-four (4)4 seconds for           orr a forty     ((40
                                                                                                                              40)
     C
NT                     shot or fifty-five ((55    IM
                                                 55    econds
                                                    ) se
                                                                                                       NF
                                     I A  L                                                    C  O
                         D  E NT            Incurring Monitoring                 I
                                                                             g Penalty
                                                                                 O     NTand
                                                                                           a Bad Time.
                 NF   I                                                  T    P                                                       I AL
             O                                                        C                                                        N   T
     N  TC
                                                 A  Player,
                                                         I M    PA than eighty-five (85) seconds for
                                                                  before      being    monitored,        who     s
                                                                                                                is
                                                                                                                       Dr aEfirst
                                                                                                                    seen
                                                                                                                     I
                                                                                                                            by    a ref
                                                                                                                                    re
                                                                                                                                    referee
O  I                   or Timing Official icial
                                           cial to take
                                                 L           lo
                                                             longer
                                                                                                             N    F                  to play
                       stroke e or seventy    A
                                         TI ((70) seconds for any other stroke,                       C
                                                                                                  TregardO
                                                                                                    regardless       of whether his or
                                  E  N                                                      I N
                      N    FIDis Out
                       her group     is in position at that time, will bePasses
                                                                             C   T      O
                                                                                       assess
                                                                                       assessed      a Monitoring Penalty. Iff the L
                                                                                                                                i r NT
                                                                                                                                            IA
                C O    group
                       gr                 of  Position     at  this  tim A
                                                                     time,
                                                                      P      the   group     will  thereafter      be monitored
                                                                                                                                   E     but
     O   I NT          the Player will be timed.   med
                                                   med.         IM                                                   N   F   ID
TP                                          N    T IAL                                                   T      O
                                                                                                            Cwho,
                                   I D   E
                                                 A  Player     during     monitoring
                                                                                      oring    or
                                                                                               O   IN
                                                                                                   timing
                                                                                                   timin               during a round,
                             NFth                                                      T   P                                            0) or TIAL
                       records
                         O        three (3) individual stroke timings that
                                                                                   C          exceed the limit of forty (40
                                                                                              e                                         0)

              I N T Cffif
                       fifty (50) seconds but is within        hin theheM
                                                                       I 10% PAAAllowance will be assessed a BadITime.
                                                                                                                                 F   DEeN
     T  P  O                                              IA   L                                                        O  N
AC                                            NA  T
                                                       Player
                                                       Play      during     monitoring       wh   o, during    Ta   C
                                                                                                                   rou
                                                                                                                   roun   d,   is in excess
                                                E
                                          ID to play a stroke that exceeds                                I N
                       of thee time F
                            he
                                  N     allowed
                                        allowe                                         ceeds the
                                                                                          C   T   PO  limit
                                                                                                      limi of the 10% Allowance
                                                                                                      lim
                                                                                                                                                  T  IAL
                               O
                   I N
                       will C
                         T be as assessed a Bad Time and will,
                                 ass                                               PA be Timed.
                                                                          l , thereafter,
                                                                              I M                                                       F I DEN
       C   T PO                           "      A PlayerIAduring
                                                              T
                                                                      L timing who, during a round,
                                                                     dur
                                                                     du                                                    C    ON  records
     A                                                   N                                                        N    T
MP                     individual stroketroke
                                              F  I DE that
                                         roke timing        t       exceeds the limit off the 10%
                                                                                                         P  OI AlloAllowance
                                                                                                                   A l               will be
                             ssed aO
                       assessed
                                  C    BadNTTiTime.                                           A   C  T
                                                                                                                                                  E  N  TIA
                           NT                                                      IIM    P                                                    ID
                     O    I                                             A  L                                                              N  F
             C
                                          "
                T P warning from the Timing
                                                    The
                                                     mingE
                                                           penalties
                                                                N   TTIIA(B)L two (2) Bad Times during
                                                                 alties   for    (A)   one
                                                                                       o      (1) Bad     Time      shall    be
                                                                                                                           TT C
                                                                                                                               e   a
                                                                                                                                      O
                                                                                                                                      verbal
           A                                        FFIID        N
                                                              E to the Player’s totalall score in su
                                                              Official,
                                                              Official                                         uring aN    Tourn
                                                                                                                        I Tournamentnament
  IMP                                           N        Dpenalty                                               P   O
                                        CCO  O N%DG 7LPHV GXULQJ D 7RXUQDPHQW                          CT
                       shall be a two       (2)-stroke
                                         o (2)-s
                                            (2) -stroke
                                                   troke                                                               ch
                       and ( &
                              IN N
                                   T T
                                   WKUHH                                             XUQDPHQW
                                                                                          DPHQW
                                                                                          I M     P  A
                                                                                                     VKDOO EH D VHYHQ  VWURNH
                                                                                                     VKD
                                                                                                                                                   ID   EN
                            O  I
                        PPO WR WKH SOD\HU V WRWDO VFRUH
                    TTSHQDOW\                                           FRUHIALQL  LVXFK 7RXUQDPHQW &XUUHQWO\\ LWCO                      LV N F
               A C                                                     N T T   I A
            P AC DQWLFLSDWHG WKDW D 3OD\HUU ZKR                 D  EEKDVN PXPXOWLSOH LQIULQJHPHQWV ZLOO EH               H VXEMHFW
                                                                                                                                I NT WR D
         MP
       IIM             UHGXFWLRQ LQ ,QGLYLGXDO YLGXDON
                                                  O    N
                                                           F  II D
                                                            F DQG VXEMHFW WR D PRQHWDU\\ ILQH
                                                        3RLQWV                                                     TP      O
                                                   O                                                        A  C
                                      I N  TAAnyCBad Times will be carried                        I M   P
                                                                                                                                                       F ID
                            TP    O
                           ease Note:
                       Please                                                        i
                                                                                         L forward
                                                                                            o     a     for the remainder of the                  N
                     A  C
                       Tourn
                       Tournament.
                                                                              N   T  IA                                                     T  CO
             IMP                                                  F   I DE
                                                                                                                          T    P   OIN
                                                   T   C  ON                                                   PAC
                                      IN
                                         O      Info
                                                Informing       Player of a Monitoring      ing
                                                                                             ng Penalty  IM   o
                                                                                                              or Bad Time. Except
                                                                                                                                                        NF
                                 T   P                                              f TIshou sAL ld advise the Player as soon                     C  O
                            AC that he or she has incurred
                   onn the putting      g
                                        green, the referee or Timin           ngg Official                                                 on
                        P                                                         E  N                                                   r IN
                                                                                                                                                T
                  IM
                   as prac
                      pra
                      practicable                                           I D   a penalty for monitoring (a “Mon            Monitoring O
                                                                 O   NF                                                  A    C   TP
                                                         T    C                                                   M    P
                                                    I N                                                         I
                                    C   T   PO                                                  T  I AL                                                 CO
                                 A                                                       E N                                                    IN   T
                         IMP                                                N    FID                                                   - 56P
                                                                                                                                        T    -O
                                                                 T   CO                                                       P   AC
                                                      O   IN                                                           IM
                                                   P                                                           L
 HIGHLY CONFIDENTIAL C                         T
                                            - OUTSIDE             COUNSEL EYES ONLY                    TIA                 PLAYERS0000106T
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 58 of 67
     FI        D                                               O                                                AL
   N                                                 C TP                                                   T I
 CO                                              P A                                              D  EN
                                          IM                                              NF    I
                             I A  L                                               C  O
                 D  E  NT                                            O   I N  T
       O   NFI Penalty”) or timing (a “Bad                 C ”T
                                                                  P                                        mNT       I   L may
                                                                                                                       Acial
                                                     PAis familiar with the pace
                                                   ad Time”)
                                                       Time    (as applicable). The referee or Timing             Offi
                                                                                                                  Of
     C                                                                                                     E
NT                ask the Player    err if he orIMshshe                                   ce        F
                                                                                            e of play I Dco
                                                                                                          condition, thereby
                                                                                               Nduring the Tournament
                         ring
                  ensuring       T
                          ing that  I theLP
                                      A    Player is aware that a further    ther BadCTime  O
                  willID   ENin a penalty of one (1) stroke                O    I NT If the Monitoring Pen
                N
                       result
                   F Time is on a putt or shortrtt chip, the      oke being
                                                                    T   P        applied.
                                                                                 app
                                                                                                                                L
                                                                                                                        enalty or
                                                                                                                           iIAing
            O                                                    C                                                       T
                                                           PA                                                DErN
                  B
                  Bad                                                 P
                                                                      Player    should     be advised      f
                                                                                                          of such
                                                                                                             su     Monito
                                                                                                                    Monitor
   I N T C Penalty or Bad Time            me whileIhe   M  or she is walking to the next tee AFPlaye       PIlaye    will not be
O                                             L                                                       N
                  penalized for a T
                                    N      IA Bad Time until after being
                                        second                                     ing
                                                                                    ng advised
                                                                                           T  COoof his or her first Bad
                    me. IDE                                                       OI    N
                                                                                                                                  IAL
                  Time.
                     N   F                                             C   T   P                                               T
            TC   O                                               A
                                                                 P Penalty or Bad Time. A Player                           N
                                                                                                                        E th
        I N                                  Appeall on Monitori
                                                            Monitoring
                                                            Monitorin
                                                            IM                                                  F I Dhas     thirty
                                                                                                                              h

T PO                                                 L his or her round to appeal any Monitori          ON g Penalty or
                  (30) minutes afterr finishing                                                      Monitorin
                                             T   IA                                               T  C
                  Bad Time(s)
                                  I D  EN during
                             e(s) assessed      d         his or her round. Failure ailure of
                                                                                         O   INany PPlayer to make his or
                  her       NFwit
                    er appeal     within the time frame set forth        th in the
                                                                        rth       T  Pimmediately preceding senten            ence IAL
                       O
                    Cresult                                                  C
                                                                           Arig                                                E  N T
                 T                                                     P
                                                                                                                       FID
                  will re       in the Player forfeiting   ng hiss or her    i
                                                                            right  to make an appeal.
          O  IN                                                   IM                                              N
       P                                                   L
                                                         A of Players Timed andd Fined.T C                    O of the list
ACT                                       Latest
                                             E  N   TIRecord
                                                       Rec
                                                                                                     N
                                                                                                           Copies
                                                                                                           Cop
                                                                                                           Copi
                                         ID tthat are Timed or fined in accordance                 I
                                                                                              O with these Rules and
                  containing
                              O   N   F
                            ng all Players
                                                                                    C   T
                                                                                         c
                                                                                            P                                           T  IAL
                       T Cofficial notice board of the                            A                                               DEN
                  Regulations      a available at the League’s
                                   are                                 e’s office   and    will  be  periodically      displ  ayed
                                                                                                                                 e
                    N                                                   I M  PTournament                                        I
                  I
            PO make sure he or she is aware
                  on  the
                      th                                    hee applicable                       venue. Each    h Player must
                                                                                                                         N   F
      C   T                                        ware T     ALor her own up-to-date position.
                                                          ofIhis                                     osition. CO
                                                                                                             T
MP
     A
                                              I D   EN                                               O   IN
                             OfficialN    F
                                          Performance
                                          Perfo
                                          Perf               Data.
                                                                                           CT     P                                           TIA
                                 C  O                                               P   A                                               E  N
                    O   I NT  Each Player must cooperate                    IMwhen asked for details of his or N            herFI
                                                                                                                                     D
                                                                   IALTournament. The Scoreboard
                                                                     cooperate
          A C T Pscores by the Official Recorders    orders atTth
                                                    corders
                                                             N    the                                               T
                                                                                                           oard Officia COand
                                                                                                                  Officials
  IMP                                                I DE as Official Recorders on thePO                       IN
                  TV Recorders are                 F
                                          re regarded                                                      course for each
                  Tournament. ent. CO
                                    T
                                              N
                                                                                           P  ACT                                         DEN
                              I N
                           O  Each Player must Icoop                              I M                                            N  F I
                    T  P                                                  A  L
                                                                          cooperate
                                                                          coope            with the performance      ance data C  O
              ACprogram (i.e., LIV Golf Invitational           E      T
                                                                   N official statistics program) by O                 NouT
       I M  P                                      vitational
                                                           I D Series’
                                                               Serie                                                 I
                                                                                                                 filling  out the
                  required information  ation andO  Nsu  F
                                                      submitting
                                                      sub            his or her statistics card.c
                                                                                                     A.CAnyT PPlayer that fails
                            erate inN
                  to cooperate
                                     I    T C with this Section 9.7((b) willllIbe
                                        accordance
                                        accor                                                M   P essed a penalty of five
                                                                                                 a
                                                                                                 ass
                                                                                                                                             F ID
                                 O
                          T P Points to his or her Individual                      L                                                    N
                   5) Individua
                  (5)
                    A
                      Individual
                       C                                              dual
                                                                         N      IA
                                                                        ual Rankin
                                                                            Ranking
                                                                            Rankings.
                                                                            T                                                     T CO
            IMP  Championship Conditions.                     I   E course for each Tournament
                                                                   DThe                                   nament P      ObbeINset
                                                          N
                                                    ConditionsF                                              C  T    will
              up by the Championship            T
                                        nship Commi CO tee, to ensure an optimal teststMLLIV
                                               Commit                                                  PA  G
                                                                                                           Golf endeavors to
                                            N
                                           I of playing challenges and experien                   I
              create the broadest
                                T   P  Oran
                                          range
                                                                                      I    Le es that will test every CONF
                                                                                        experienc
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                          ACPlayers’                                           gNT the diversity of golf that exists         e sts T
              facet
                cet of the
                       P
                 IM the world.
                              Pla         skill level and ability,  y, highlighting
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              around
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                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 59 of 67
      FI        D                                                 O                                                  AL
    N                                                  C TP                                                     T  I
  CO                                               P A                                                D   EN
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                                                                    during any Tournament, upon           on theN      T
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                                                                                                                    determination
     C                                                                                                          E of all Players at
NT             of the Tournament                   IMitPbbecomes necessary to suspe
                                        nt Director,                                         spend
                                                                                               pend the F
                                                                                                       th  I D
                                                                                                             p
                                                                                                             play
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                                                                                                    N will be sounded, or
                                       ,IA L (3) consecutive notes off the klaxon/           C  O
               the Tournament,ament
                              ament,
                              EN    T    three
                                         thre                                             klaxon/siren
                                                                                          klaxon/s
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                                  w otherwise be communicated          unicated
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                 N    F                                               C  T                                                   T  I A
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               Suspension
               Suspe
               Susp             of  play   may    be  necessary
                                                          cessary    and   advisable
                                                                           ad            due   to  a dangerous ous
                                                                                                                 us   situation    (e.g.,
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   I N T C adverse weather conditions         nditionsIM    suc
                                                            such                                               F I
                                                                                                           notification
                                                                                                     on notificatio
O                                             IAL must immediately discontinue           ontinueC     ON
               suspension off play, all
                                       N   T   Players
                                               Playe                                   continue
                                                                                            N  T     play  on the course. At the
                      etion Iof
               discretion
                            F   DEthe Tournament Director, playPmay                   OI bbe resumed so long as theIAL
                    O   N
               Tournament
               Tourname           will be completed within one (1)
                                                                         AC     T
                                                                             1 day of the original scheduled completion  c mp To
                                                                                                                                N
            T   C                                                 M   P                                                 I D  Epleted,
        I N    of  such   Tournament.         If pla y is   n
                                                          unableI    to  resume     and  no   rounds     haave
                                                                                                             ve
                                                                                                                NFfifty percent
                                                                                                                b
                                                                                                                been  n  c
                                                                                                                         com
T PO no Prize Money shall                           IA  L If one (1) round has been
                                             NT that would otherwise have been
                                                   awarded.
                                         hall be awarde
                                                   award                                                  C  O
                                                                                                      completed,
                                                                                               een complete
                                                                                                      complet
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                                       D  E                                                  O  I N
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               (50%) of the   he Prize    Money
                                          Mon
                                          Mone                                                    awarded shall be awarded.
                                                                                                  aw
               If two (2)O   orN                                                   C  T  Pshall be awarded as thouughh the TIAL
                                                                            PA                                                  DEN
                                more rounds are completed,
                                mo
                                m                                     d, Prize Money
             I N   T C had been played too completion.
               Tournament
               Tourn
               Tou                                                    I
                                                              completionM                                                   F I
     T P  O                                               I A  L                                                   O    N
AC                                                     T                                                        C
                         Resumption umptionN
                                           I D   E of Play.
                                                        Pla As soon as conditions have stabilize
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                                                                                                   O   I NT ed such that play
                                                                                                       stabi
               can be resumed,
                           esumed,
                             sumed,
                                 O
                                         F (3) consecutive notes off theCklaxon/s
                                     Nthree                                                 T   P
                                                                                          klaxon/siren       will be sounded, or
                                                                                                                                              T  IAL
                          T Cwwill otherwise be communicate                 ed toPall APlayers at the Tournament. Upon           U o EN
               notification
                 otification
                   tification
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          T Pon the course.                                           L                                                       N
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               notification
               notific
               notifi           of  such   resumption     n  of  play,  all  Players
                                                                             P         must    immediately            mm
                                                                                                                  commence      e  p
     A C                                                  N   T  IA                                                T
MP                                                I DE                                                    OI   N
                                                F
                                           NRegulations.                                       C  T   P                                             TIA
                         Caddie
                                    C   O    R
                                                                                        P   A                                                 E  N
                       O   INT  Caddies are                                     IM                                               N    F ID
            C   T Pbreach by a caddie of the regulation       re
                                                                     T   AL
                                                                       Irespo
                                                                        responsibility
                                                                e the respons              of the Players retaining
                                                                                                                          T     Om A
                                                                                                                           g them.
                                                                                                                             Cbreach
          A                                                      N
                                                          DEcaddie, with a penalty                                  IN
  IMP
                                                        regulations      set  forth   below    will be  deemed  ed   to  be  a
                                                      F I                                                T   P O
                     by the Player   er retaining
                                              O  N     such
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                                                                                                 deduction
                                                                                                 deductio t      of   up to one (1)
                     Individual
                             dual Point
                                 I NPoint  C
                                       T ((w(which may be doubled for
                                                                                         I M
                                                                                 or subsequent
                                                                                       bsequen    A
                                                                                               P breaches in a Season) at
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                          P   O of the CEO & Commissioner:
                     the discretion
                      T   discre                                      ssion
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               AC                                                      N   T                                                    T   C
         M P                                                   I D  E                                                  O   I N
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                                                        N   F
                                                     misbehavior
                                                     misbehavio         by    a  caddie     of  a   personal
                                                                                                         sonal
                                                                                                               T   P
                                                                                                                 nature      which      is
                        generally unacceptable   CO by normal social standards;s; MPA                       C
                                        I N  T                                                 I                                                   F ID
                                    O
                             T P  failure to wearr and                         dIA  L
                                                                                      splay the required caddie uniform
                                                                                      spla                                       iform CO
                                                                                                                               niform         N
                      A  C                                                E   N   T                                               N    T
            IM     P    issued
                        i          to such caddie for the    he       D
                                                                e durat    on o of the round;
                                                                                                                             O  I
                                                              N    FI                                             C   T   P
                                            Twearing O
                                                       C jeans or sandals, or wearing
                                                     wearin                                     aring       PAin vviolation of any
                                                                                                     g attire
                                          O   I N                                                     I M                                           NF
                        regulations
                               lations promulgated
                             ulations
                                   T   P  prom
                                          promu             by the Championship
                                                                                          I    L
                                                                                           Committee;
                                                                                     ship Committ
                                                                                     shi   Commit
                                                                                            A                                                 C  O
                             AC                                                     N  T                                                    T
                         P                                                    D  E                                               i OaIN
                   IM                      "      caddies      will      I
                                                                         normally
                                                                         F             be    permitted to display         a similar
                                                                                                                             TP
                        advertising to their Player;   ayer;; ON
                                                      layer                                                           A  C
                                                          T  C                                                 M  P
                                                    I N                                                      I
                                       C  T  PO                                              T  I AL                                                CO
                                   A                                                   E N                                                  IN   T
                          IMP                                              N    FID                                              - 58P
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                                                                 T  CO                                                   P   AC
                                                       O   IN                                                      IM
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 HIGHLY CONFIDENTIAL C                          T
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                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 60 of 67
     FI        D                                               O                                                  AL
   N                                                C TP                                                     T  I
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                               I A L                                               C  O
                  D  E  NT                                              O  I N  T
       O   NFI                            "                C
                                                     roup adve
                                                   group
                                                           A     T
                                                            advert
                                                                    P on caddies will nott be permitte
                                                            advertising                                         N   T
                                                                                                             permittedI ALunless
     C                                                                                                   DE
NT                     representing              IMP of the Tournament;
                                                sponsor
                                      ng the sponso
                                                                                                N    F I
                                      I   L
                                        A"                                             C  O
                            EN     T                                               NTtto mark a Player’s scorecard;
                      I D
                                                   caddies are not permitted
                                                                          P  O   I                                              L
            O    NF                                                C   T                                                  T I A
                                                             PA                                                 DEN
                                          "
       TC
                                                   caddies
                                                      ddies    are permitted
                                                                   per
                                                                   perm           to mark    a Player’s            rm
                                                                                                           performance        card;
O  I N                                                  I M                                            N   F  I
                                          T I ALat the venue for each Tournament,
                                          "                                         namentO
                                                                                            T  C
                                                                                         nament,     including
                                                                                                   , incl
                                                                                                     inclu         practice and
                         ro-AmE
                       Pro-Am
                         ro-Am
                               D     N
                                   functions,
                                   func
                                   funct          if so required, every     y Player
                                                                                   O     N use a caddie unless a priorr
                                                                              Player Imust
                      N   F  I                                                  P
                                                                             T VVi                                                IAL
                  O    exemption
                       exem             in writing is obtained   ed from
                                                                       A  C the
                                                                            th  Vice President, Rules & Competitions;mpetitions;T
                                                                                                                        petitions;
                                                                                                                            N
        I N TC                                                I M  P
                                                                                                                  F I DE to
T PO                                                                                                     ON
                                          #
                                                    ALputting greens on the course;
                                                   other    than
                                                            tha    practice    rounds,    caddieses    are   not  permitted
                                                                                                                  pe
                                                T I                                               T   C
                       test the surface
                                   I D   EN   of the
                                                 th                                     urse;
                                                                                         O   INand
                                                                                                                                         L
                             N   F        #                          ng golf C   T  P will not be permitted to walk on TIA
                        O
                                                                                                                            DEN
                                                   caddies wearing    ing      shoes
               N  T Cany putting surface on the                     I M   PAcourse.                                       I
       P  O  I                                           heeTTournament
                                                             Tournamen
                                                             L
                                                                   name
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     T                                                T  IA                                                  C  O
AC                                    
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                                            D  E  N may be asked to wear a microphone
                                               Caddies
                                                                                               O   I NT by LIV Golf and
                          xpected F
                   are expected
                                   Nto co I comply with any such request,       uest,
                                                                                  est, asT  P aas any other reasonable TIAL
                                                                                            well
                               O                                                      C
                   I N  T Cth
                   request     that may contribute to a better
                               tha                                        broadPA t product in the sole and absolute
                                                                     tter broadcas
                                                                          broadcast
                                                                          I M                                                 F I DEN
          T P   O discretion
                   dis
                   d              of LIV Golf.
                                                               I AL                                                   ON
       C                                                    T                                                   T  C
MP
     A                  Accredited           DEN All Players are required toPoffici
                                      redited IAgent
                                              F  Agents.                                              O   INlly register their
                                                                                                     officia
               respectiveve
                                  C   O   N
                               representatives/agents.
                           e represent
                               representa                            Registrattion will  Al CocT ur through an annual
                                                                                              occ
                                                                                                                                        E  N TIA
                          NT via the Team application process with                    P
                                                                                IM LIV Golf.                                         ID
                         I
               accreditation,
               accreditation
                     O                                                   L                                                      N  F
          A C   T P  Data Protection                        N  T  IALIV                                            T     O
                                                                                                                         CPlayers’
  IMP personally identifying
                                                 tion
                                                   ion
                                                       I DEseriously. Such information
                                                         & Privacy.
                                                           Privacy           Golf  takes   the  pro
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               provide LIV IV Golf’
                                Golf’s
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                                         C
                                     Ts se
                                         services to the Players and administer
                                         ser                                            M
                                                                                     inister
                                                                                      I
                                                                                               A
                                                                                            Ptthe Tournaments operated
                                                                                                                                       F IDEN
               by LIV P
                     T      O Further information about
                        Golf.                                      out data
                                                                           I A Lprot
                                                                                protection and privacy will be made
                                                                                p                                                 O  N
                AC at the LIV Golf websitee DEN                         T                                                      C
         M  P  available
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               avail
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       I                                              NFPlayers are permitted too participate              TonPas broad and
                                                  O                                                  A  C
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                                          Events.
                                      er Events       All
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               diverse a cross-sectio
                            cross-section
                            cross  -secti
                           T Pparticipation does not interfere                       L       (each,    an “Other Event”), so            N
                ong asC                                                       T  IAth                                         GoT CO
               long
                     A  such
                  P such obligations exist. The League                     N
                                                                  terfere with     the Players’ obligations to LIV Golf,
                                                                     DEviews participation of thee Players        y PO      IN
                                                                                                                              Golf
            IM where
               wher
               whe
                                                            N    F
                                                               Lea I                                              T
                                                                                                                         in O  ther
               Events as a major benefit   enefit to
                                                 T    CO the promotion of the game of golf worldw
                                                                                                        P  AC
                                                                                                           worldwide.       Other
               Events include, de, butO   are N
                                             I no
                                               not limited to, any of the following:lowing:
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                                  T  P                                                 I A L                                            C  O
                           AC• The Masters                                    E N   T                                               NT
                  IM    P                                                I D                                                   O  I
                                 • The U.S. Open      en       O  NF                                              A  C  TP
                                                         T  C                                              M   P
                                 • The              N
                                         e OpenIChampionship
                                                    Cha
                                                    Champ                                                I
                                    C    T  PO                                            T  I AL                                            CO
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                        IMP                                              N   FID                                             - 59P
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 HIGHLY CONFIDENTIAL C                        T
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                  Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 61 of 67
     FI       D                                           O                                          AL
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                D   E  NT                                        O   I N T
       O   NFI                 • The United   ed StatesC
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                                                          PGA
                                                          PG
                                                               PChampionship
                                                                                                   N  T  I AL
     C                                           CuP                                          DE
NT                             • The he Ryder IM Cup
                                                                                      N   F I
                                   I
                               • TTheALPPresidents Cup                       T  C  O
                     I D  EN• Any other PGA Tour events         ents OIN
            O   NF             • DP World Tour events  eventsCT
                                                                    P                                       T  I AL
   I N TC                      • Asian Tour o eventsI M
                                                  vents  PA
                                                                                                FI DEN
O                                        IALTTour events                                ON
                               • Sunshine
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                                   N Tour events                                  T  C
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                     N • Australasian Tour events           ents CT
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            TC   O                                         vents
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        I N                    • Japan Golff Tour events I M
                                                        eventsP
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T PO                           • Other
                                            T  IALeevents
                                     ther special
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       C  T PO                                          T I AL                                        C  ON
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                  Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 62 of 67
     FI       D                                           O                                         AL
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NT             Appendix A – Emergency gency
                                            IMP Release
                                           y Medical
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                       tached.)TIA
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               (See attached.)
                      I D  EN                                       O  I
            O    NF                                         C  T P                                         T  I AL
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O                                       IAL                                           ON
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T PO                                       T IAL                                      T  C  ON
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                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 63 of 67
      FI        D                                                 O                                                  AL
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                                                             AA RELEASE OF LIABILITY                               N   T I AL
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NT                                                  IMP AND
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               IN CONSIDERATION
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                                                                                hat exists   C O
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                          D  E  N tournament, event orr other Osanc                 I N
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               attending      any
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                                                                       C  T  P    sanctioned
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            O
       TC                                                      PA                                                  DEN
               “Activities”
               “
               “Ac
                 A             and   each,   an    “Activity”)
                                                         vity
                                                         vity”)
                                                              ”) of   LIV  Golf
                                                                           G     Invitational   Series    (thee “Series”)
                                                                                                                  Series
                                                                                                                  Series”);
                                                                                                                         ”); and
O  I N                                                    IM                                                  F  I
               IN CONSIDERATION    ATIONIOF
                                          T    ALm   my desire to participate in and/or
                                                                                                  C  ON the Activities and
                                                                                            nd/or attend
                                                                                              T
               being given
                            F I D N to participate in and/or attend
                          iven theEright
                                                                                   P   O  IN
                                                                                         thee Ac
                                                                                              Activities;
                                                                                                                                      IAL
               IC   O   N on my own behalf andd on behalf                 A  C  Tmy personal representatives                    N   T
          N
                 HEREBY,
                 HER
                 HERE
            Tof kin, executors, administrators,                  I M   P      o
                                                                              of                                  tives
                                                                                                                    ves
                                                                                                                       I     E
                                                                                                                         heirs,
                                                                                                                         Dacting  next
                                                                                                                                  ne
        I                                                                                                            F
T PO my behalf (collectively,                            L                                                      N
                                               nistrators,    estate,
                                                              esta        assigns,   and/or   any  p erson     o
                                                                                                               or  entity            on
                                                     IA                                                  C   O
                                      D   E NTthe ““Player Parties”), hereby knowingly
                                   lectively,
                                                                                             O
                                                                                                w T a
                                                                                                I N          n voluntarily enter
                                                                                                           and
                       hiss WAIVER
               into this
                              N   FI AN  AND RELEASE OF LIABILITY               TY (thisP
                                                                               ITY
                                                                                   C  T    “Wai
                                                                                           “Wai
                                                                                           “Waiver”)     and hereby waive any        ny
                                                                                                                                         T IAL
                           O
             I N    T Crights,
               and all    right claims or causes of action
                          righ                                        on ofP
                                                                    tion
                                                                        I M
                                                                                A kikin
                                                                              any  kind arising out of my participation
                                                                                                                                DEN
                                                                                                                         cipation
                                                                                                                           F  I
                                                                                                                                      in

     T P  O    and/or
               and
               an          attendance     at  the
                                                               L
                                                     Activities;
                                                       ctivities;
                                                           IA
                                                                    and
                                                                                                                   O   N
AC                                                      T                                                       C
               I HEREBY, on my own
                                          I D    EN and on behalf of the Player
                                                behalf
                                                beha
                                                beh                                       layer   O   I
                                                                                           ayer Parties,NTrelease and forever
                       arge L O V N     F and its past, current anndd future            C   T  P                                              T  IAL
               discharge
                              C     Gol
                                    Golf
                          T officers,
                                                                                             af iliates, subsidiaries, teams,
                                                                                             aff
                                                                                   PAmembers, partners, joint venturers         tuFID, E
                                                                                                                                          N
                     I N
               directors,
               directors     o
                O employees, volunteers,
                                         owners, managers,                   I M
                                                                      stockholders,
                                                                   s, stockholde
                                                                      stockholders
          T Pstaff,                                               I AagL                                              tCON
     A C       sta
                                                           N  T
                                                      ers, heirs,      agents,
                                                                       age       attorneys and representatives
                                                        E or in concert with them, and each                   N    T          and all
MP             persons acting by, through,
                                               F   I Dunde
                                                       under
                                                                                                     P   OI of ttheir respective
                              ors-     O
               predecessors-in-interest,
                              ors-in      N successors and assigns (collectively,
                                   in-interest
                                   C  -intere                                                 C tthe “Series Releasees”), ENTIA
                                                                                                  T
                                                                                       collectively,
                                                                                        P   A
                  om anyIN
               from          phyT or psychological injury that
                             physic
                             physical                                              IMha
                                                                           hat I have,  h
                                                                                        had or may now have, or may             y haveFID
                T
               in  the O
                    P future
                        ffu      arising out of, relating    ng to, orIA  in L
                                                                             connection with my participation
                                                                             con
                                                                             co                                     ation in   aONr
                                                                                                                            nCand/o
                                                                                                                               and/
          A C                                                         T
                                                              EN arising.                                             NT
  IMP attendance at the Activities                       I D
                                                        whenever
                                                 ities wheneve                                                  O   I
                                             O    NF                                                C   TP
               I AM VOLUNTARILYNTARILY
                                  N   T   C PARTICIPATING
                                            PA                        IN  AND/OR   R          P
                                                                                      ATTENDING
                                                                                        TTENDING
                                                                                         I M
                                                                                                  A     THE    ACTIVITIES AT MY
                                                                                                                                               ID   EN
                           P    I
                             O AND          I AM AWARE OF THEL RISKS                  RISK ASSOCIATED WITH SUCH N                            F
                                                                                                                                   CO
               OWNWN RISK         A
                   C   T                                                    T I A                                               T
                A
               PARTICIPATION
               PARTIC
               PARTI                   AND ATTENDANCE,       ANCE, WHIC  N
                                                                         WHICH     MAY INCLUDE, BUT IS NOT N
                                                                     E INJURY, PAIN, SUFFERING,                          I  LIMITED
                                                                                                                            LIMITE
       IMPTO, PHYSICAL OR PSYCHOLOGICAL                  N
                                                PSYCHOLOGI
                                                PSYCHOLOG    FID                                      UFFERING,
                                                                                                               T   P  OPOSSIBLE
               EXPOSURE TO ANDT                  CO FROM INFECTIOUS DISEASES                            AC
                                                                                             EASESP(INCLUDING
                                  O    I N
                                             ILLNESS
                                             ILLNES
                                             ILLNES                                        ISEASES
                                                                                               I M     (INC                BUT NOT
                                                                                                                                              N    F ID
               LIMITED
                             T P DISABILITY (INCLUDING
                       ED TO MRSA,
                                MRSA      INFLUENZA
                                          I                   AND      COVID-19),
                                                                             D-19),
                                                                                -19),   L
                                                                                      DISFIGUREMENT,
                                                                                      DISFIGUR
                                                                                      DISFIGU
                                                                                    IA ECONOMIC OR EMOTIONAL
                                                                                                                TEMPORARY           OR
                                                                                                                                         CO
                       A  C                                                   N   T                                                  T
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               PERMANENT
               PERMANEN
               PERMANE                                              ING PARALYSIS),
                                                                           PARALY                                      MOTIONAL
            IM     P                                                   I D E
               LOSS
               LO AND DEATH. I UNDERSTAND               ERSTAND
                                                         RSTAND
                                                               N    F    THAT THESE INJURIES OR OUTCOMES
                                                                         TH
                                                                                                                  C   T  P        MAY
               ARISE FROM MY OWN            WN TOR         O
                                                        C OTHERS’
                                                           OT
                                                           O               NEGLIGENCE, COND        ND TIONS
                                                                                                 OND        PA RELATED TO
                                              IN
                                         O THE ACTIVITIES OR FROM CONDITIONS                         I M                                            NF
               TRAVEL TO AND FROM
                                  T   P                                                   I A L
                                                                                        CONDITION
                                                                                        CONDITIO            AT THE LOCATIONS
                                                                                                                                              C  O
                             AC                                            SUME N       TRELATED                                 OWN T
               OF
                    IMUN  P ACTIVITIES.
                  F THE ACTIVI
                            ACTIVIT         NONETHELESS, I ASSUME         SSUME
                                                                            I D  E   ALL  R              RISKS, BOTH KNOWN
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               AND
                 ND    UNKNOWN TO ME, OF MY
                                                                      N   F
                                                               PARTICIPATION
                                                             Y PARTICIPAT
                                                               PARTICIPATI             IN  AND/OR       ATTENDANCE
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                                                              C   O                                               P   A
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               ACTIVITIES.
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                                  A  C                                                 E  N  T                                               N   T
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 HIGHLY CONFIDENTIAL C                          T
                                             - OUTSIDE              COUNSEL EYES ONLY              TIA                 PLAYERS0000112T
                     Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 64 of 67
      FI        D                                       PO                                                         I AL
    N                                               C T                                                         T
  CO                                              A                                                       EN
                                              IMP                                            NF    I D
                                 IA  L                                                C  O
                 D    E   NT                                              O   I N T
               I
         NFI FURTHER                                              T    P and hold harmless the SeriesTIRRe                  AL
      O                                          ndemnify,Cdefend                                                  N
                                                       PA
                                  AGREE to indemnify,             def
                                                                  d                                                        Releasees
    C                                                                                                        DEdamages, losses,
NT          against any and alllll claims,IM       suits,
                                                   suit
                                                   suits   causes of action, liabilities,               F
                                                                                               s, demands, I
                                                                                                   Nand expenses (including
            judgments,    nts,       T I
                            ts, payments,AL penalties, debts, sums of money,             T     O
                                                                                          e Ccosts
                          D     N costs and other out-of-pocket
                              Efe                                               O  I N
            attorneys’
              ttorneys’
              N         I      fees,
                               fee
                     F or defending the foregoing)                     off-pocket
                                                                          -pocket
                                                                          T  P        expenses incurred in investigating
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                                                                                                                                     A Lor,
     T  COnature whatsoever, now
            preparing
            prepa                                        egoing)
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                                                             or   arising   after  the   date   he reof,
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                                                                                                                 w
                                                                                                               law   or  in    equity or
            otherwise, brought     oughtTby
                                  rought         L
                                             IAme and/or any Player Parties                        COtth
                                                                                        ties against      the Series Releasees
                           ”). IDE     N                                                    N  T
            (“Claims”).
                      mss”).
                            F                                                   T P   OI                                                 IAL
                   O    N                                                 A C                                                      N   T
      I N TI CFUR
              FURTHER ACKNOWLEDGE that                    hatt the P
                                                               I M     Serie
                                                                       Series Releasees are not responsible     onsibleD
                                                                                                                     F  I   forEerr
                                                                                                                                  errors,

T PO whether by the                                                                                          OaNsp
            omissions, acts or failures       ures toL
                                             lures      act o of any party or entity cond          ducting        specific Activity
                                  he SeriesN    T  IA                                     er N       T    C
                                     I D   E Releasees
                                               Rele          or on behalf of the Series
                                                                                            O   I Releasees and, in the event
            that I should      NFrequire
                                    req        medical care or treatment       mentTduring my participation in and/or IAL
                                                                                         P
                 T
            attendance
            attendanc     O
                       C at any Activity, I expressly         ssly authorizeP   ACLIV Golf (or its designee) to arrange          nDEfor  NT
        O  IN                                                          IM                                              N        I but
                                                                                                                             Fding
     P      and provide such medical assistance               L       to me as it determines nec
                                                                                                                CO
                                                                                                          cessary,    includ
                                                                                                                      inclul
ACT                                             E  N  TIA                                          R N   theTuse of automated
            not limited to, first                cardiopulmonary
                                         st aid, cardio
                                                 cardiop
                                            D(AEDs), emergency medical
                                                                            resuscitation (CPR)
                                                                                                       I
                                                                                               POand sharing of medical TIAL
            external defibrillator
                                 O   NFI ((A                                                T
                                                                                  cal transport
                                                                                        C
                          T Cwwith medical personnel. I also                      PAaany licensed physician, health               th care EN
            information
             nformation
             O     I N
                                                                       lso authorize
                                                                             I M                                                N    F ID
        T P personnel,
            perso               and/or      medical     facility
                                                         acility
                                                                I     L
                                                                     to   provide
                                                                          pro         any    medical/surgi
                                                                  A which such licensedd physician               cal
                                                                                                                      C   O
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                                                                                                                       care      a
                                                                                                                                 and/
                                                                                                                                 and    or
   A C                                                EN     T                                                     T
MP                                                                                                       OIN and I agree to
            hospitalization,           including
                                             ding    anesthetics,
                                                     anesthet                                                            heath        care
                                               F I Dfacility                                          P
            personnel and/or
                     me andTbeCfina     ON responsible for any
                                   d/or medical                 determine necessary      sary orrTadvisa
                                                                                  nd allPcos
                                                                                                    advisable,
                                                                                            AC incurred as a result of such                     E  N TIA
            assume
                      O    I
                                      financially
                            NI expressly acknowledgee and underst
                                                                             ny and       costs
                                                                                          cost
                                                                                  IM that I should carry myy own health                N
                                                                                                                                        ch
                                                                                                                                           F ID
        A C  TP
            treatment.
            treatment
                                                               N     T  IAL
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                                                                                                                          T     CO
  IMP
            insurance.
            in
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                                                 N that the Activities mayy involveAaCte                 T of my physical and
            I FURTHER ACKNOWLED ACKNOWLEDGE
                                ACKNOWLEDG
                                       T   CO                                              M  P         test
                                                                                                        tes
                                                                                                                                                 IDEN
            mental   tal limitsIN  and may carry with it the potential for deat
                             Onot to participate in and/or                               I
                                                                                        death   , serious injury and prope            erty
                                                                                                                                            N  F
                     T    P                                                   I A L Activities unless I am medically                  C  O
             AC properly trained, andd I agreeDE
            loss      I agree
                        ag
                        agre                                   d/or        T
                                                                        attend   the
                                                                                 th
                                                                        Nabide by the decision of LIV O                      i  a
                                                                                                                             Nand Ty  ablee
     I M  P and                                              I       to
                                                                                                                   P      I
                                                                                                                       Golf             its
                                          garding O   N    F
                                                         approval to participate in and/or A                   T
                                                                                                            C the Activities.
            representatives regarding   egarding
                                            T   C my aap                                            P    attend
                                                                                                                                                      ID
                                    O   I N                                                    IM                                               N   F
            I HEREBY REBY
                             TP
                        EBY ACKNACKNOWLEDGE             THAT       I  HAVE
                                                                                   IA   L
                                                                                CAREFULLY
                                                                                CAREFULL
                                                                                CAREFU            READ      THIS    WAIVER           AND
                                                                                                                                       ND
                                                                                                                                            CO
                     A   C                                                   N   T                                                      T
          IM    P
            FULLY         UNDERSTAND
                          U                     THAT   IT
                                                     E THEN
                                                           IS A   RELEASE  E     OF
                                                                                 O    LIABILITY.
                                                                  FID RELEASEES FROM ANYY AND
                                                                                                     I EXPRESSLY
                                                                                                                      T
                                                                                                                       Y  AGREE
                                                                                                                               OIN
                                                                                                                       ALP CLAIMS
                                                                                                                                       TO

                                                                                                               AC THE PLAYER
            RELEASE AND DISCHARGE
            R                                                 SERIES
                                                              SERIE
                                                              SERI                                                     ALL
            AND AGREE TO VOLUNTARILY               T
                                          OLUNTARILY
                                          OLUNTARIL   COGIVE UP AND WAIVE ANY                 NY RIGHT M    PTTH
                                                                                                              THAT
                                           O   N
                                              I TO BRING LEGAL ACTION                                I                                               NF
            OTHERWISE         SE MAY
                                   T   P   HAVE
                                           HA                                        ION A
                                                                                   TION
                                                                                          I   L
                                                                                            AGAINST
                                                                                            AGAIN
                                                                                            AGA           ANY OF THE SERIES
                                                                                                                                                C  O
                             ACWITH                                              E N   T OR PURSUE ANY SUCH CLAIMNT
            RELEASEES
              ELEASEES   P        W
                 IAAIM THE SERIES RELEASEES
                                           RESPECT TO ANY SUCH           UCH CLAIM
                                                                             D                                                        O   I
            AGAINST                                         ES INN
                                                          EES            FIFORUM.
                                                                       ANY   F
                                                                                                                         CT        P
                                                            C   O                                                 P   A
                                                O  I NT                                                      IM
                                          TP                                                    IA  L                                                CO
                                   A  C                                                E N    T                                                N   T
                          IMP                                                                                                                 I
                                                                           N    FID                                                 - 63P
                                                                                                                                     T    -O
                                                               T     CO                                                  P    AC
                                                      O   IN                                                       IM
                                                   P                                                       L
 HIGHLY CONFIDENTIAL C                         T
                                             - OUTSIDE            COUNSEL EYES ONLY                TIA                 PLAYERS0000113T
                    Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 65 of 67
      FI       D                                      PO                                                         I AL
    N                                             C T                                                          T
  CO                                            A                                                       EN
                                            IMP                                              NF    I D
                                 I A  L                                               C O
                    D   E  NT                                             O   I N T
           NFTo   I                                                 T  P or case law does not prohibitTrel             I   L for
                                                                                                                         Aases
       O                                             pplicableCsta                                               N
     C         T the extent that any applicable
                                                             A    statu
                                                                  statute
                                                                                                               E
                                                                                                                      rele
NT             ordinary negligence                   IMP includes my release for such
                                                     Waiver
                                         ce this Waive                                                 F lIDnce on the part of
                                                                                              uch negligen
                                                                                                  N
               the Series Releasees  T  I
                               Releasees. AL                                                 C O
                         I D  EN                                                O  I NT
            O    NF that
               I agree    th this Waiver shall be governed    overnedTfor
                                                                      C      Pall purposes by [$] law, without             T I
                                                                                                                   hout regard ALto
       T C any conflict of law principle                        PsAWaiver supersedes any andd alll Ipreviou     pDE v Ns oral or
O  I N                                                      M
                                                     iples. This
                                                          I                                                  F
               written promisess or other
                                            T   IALaagre
                                                      agreements.
                                                                                              T   C  ON
                               I    ENany damage to equipment
                                 Dtha                                      ent orP   O   IN occurs at the Activities as a L
               In the event
                         N   F     that                                             facilities
                                                                                    facilitie
                                                                                    faciliti
                                                                            CT neglect or recklessness, I acknowledge           TIA
                 C  O
               result    of my or the Player Parties’ willful            A
                                                                    f actions
                                                                      P actions,
                                                                                                                          E  N
     O  I NTand agree to be held liablee for any and             IMall costs associated with any        ny
                                                                                                               N
                                                                                                          y such
                                                                                                            s      F iIDl actions,
                                                                                                                   willfu
TP                                      ssness. TIA
                                                         L                                              CO
               neglect or recklessness.
                                     essness.
                                            E   N                                              IN    T
                                   F I  DSHALL                                          P   O  THE DURATION OF MY TIAL
               THIS  S WAIVER
                           O   N                      REMAIN        IN    EFFECT
                                                                            FFECT
                                                                                  C  TFOR
                                                                                      FO
               N    TC
               PARTICIPATION
               PARTIC                    IN AND/OR ATTENDANCE  TENDANCE
                                                                       I M  PAAAT THE ACTIVITIES, BEGINNING       INNING
                                                                                                                   NNING   I    EN
                                                                                                                             DWITH
       P     I
          O MY INITIAL PARTICIPATION                           L                                                         F
                                                                                                                     N AT ALL
     T                                               ON INA
                                                    ION
                                                         T I AND/OR
                                                             AND
                                                             AND/O        ATTENDANCE AT AN ACTIVITY
                                                                                                               C O   AN
                                                                                                                     AND
AC             SUBSEQUENT ACTIVITIES.
                                                D  EN                                            O    I NT
                                     N    F   I                                            T  P                                               IAL
                                 O                                                     C                                               EN  T
               THIS  S WAIVER
                       N   T  C was w entered into at arm’s length,      ength,   PA duress or coercion, and iss toIbe
                                                                            gth, without
                                                                             I M
                                                                                 withou
                                                                                                                                  D
            P   O    I
               interpreted
               interpre
                nterpr           as an agreement between
                                                                      L
                                                               tween two ((2) parties of equal barga             aining        F
                                                                                                                           Nen .
                                                                                                                   ning strength
          T                                                       I A                                               C  O
     AC Both I, ____________________,                   ENTas to its terms, and that no other
                                                   _______,     the undersigned Player, and LIV GolfTagree        agre that this
MP                                                  I D                                                 O   I Nevidence
               Waiver is clear and
                                             N    F
                                              unambiguous
                                        nd unambigu
                                              unambig
                                                                                              C  T   P                     shall be
                                                                                                                                                 TIA
               used or admitted     C    O  tto alter or explain the terms       ms ofPthisA     Waiver, but that it will be      be       E  N
                        O   INTbased on the language inn accordance               IMwith the purposes for which                  t issFI
                                                                                                                          hich itN
                                                                                                                                        D
                                                                        IAL
               interpreted
          A C   T P into.
               entered
               ent
               en
                                                                 N   T                                                 T  CO
  IMP In the event that                                  I DE                                              P   O  IN
                                      at anyO
                                    hat             N  F
                                                  provision
                                                  provis
                                                  provi       contained within thiss WaiverCshal        T be deemed to be
                                                                                                       shall
               severable
                                  I N   T
                                  invalid,
                           le or inval
                                  invali
                                            C
                                           d or if any term, condition, phrase     ra Ior Mrp P  A
                                                                                             porrtion of this Waiver shall be     b
                                                                                                                                          F IDEN
                       T
               determined  P  Oto be unlawful or otherwise                    I A L
                                                                          unenforceable,
                                                                    wise unenfor
                                                                          unenforc            the remainder of thiss Waiver W CO     r N
                AC remain in full force and effect.DIfEaNco                T                                              NW T
        M   P  shall
               sha
       I to be invalid or unenforceable,                       I         court should find any provision
                                                                                                                    O   I
                                                                                                            ision of this   Waiver
                                                      O
                                            nforceable,  NbbuF that by limiting said provision
                                                           but                                   ision itC
                                                                                                        A     T Pbecome valid
                                                                                                           would
                                                   C
                                                T sa                                            MbePw                                             ID
               and enforceable,
                                    O    I
                               eable, then N       said provision shall be deemed    emed
                                                                                      med to  I        written, construed and
                                                                                                                                           N    F
               enforcedrced T
                    orced     as P
                                 so limited.
                                     li                                            IA  L                                               CO
                       A  C                                                  N   T                                                T
            IMP                                                     F I DE
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                                    T   P   OI                                           I A  L                                               O  NF
                              AC                                                      T                                                    C
                          P                                                  D   E N                                            O  I  NT
                    IM                                               NF    I                                              TP
                                                              C   O                                              P  A  C
                                                      I N  T                                               I M
                                       C   T    PO                                           T I AL                                              CO
                                    A                                                 E  N                                               IN   T
                           IMP                                             N    FID                                           - 64P
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                                                                 T   CO                                                P  AC
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 HIGHLY CONFIDENTIAL C                            T
                                                - OUTSIDE           COUNSEL EYES ONLY              TIA               PLAYERS0000114T
                   Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 66 of 67
     FI       D                                    PO                                                 I AL
   N                                           C T                                                  T
 CO                                          A                                                EN
                                         IMP                                        NF   I D
                                 IA  L                                        C O
                    D  E  NT                                       O   I N T
           NFIn   I                                             Pcontact the following person(s)              ALorder
       O                                                  C  T                                        N  TinItth
     C         I the event of an emergency,
                                                        A
                                                gency, please                                  erson(s)
                                                                                                 DE
                                                                                                              the
NT             presented:                      IMP                                       N   F I
                                      I A L                                        C  O
                                    T
                              EN Contact                                      NT Contact Telephone
                    Emergency
                        I D
                                    Co
                                    C                               tionship
                                                                     ionship
                                                    Contact Relationship
                                                                         O  I
            O     NF                                           C   T  P                                         T  I AL
   I N TC                                            IM   PA
                                                                                                   FI DEN
O                                          IAL                                             ON
                                         T                                           T  C
                            F  I DEN                                       P  O  IN
                                                                                                                         IAL
                    O   N                                          A C   T                                         N  T
        I N TI,I CTHE UNDERSIGNED PLAYER,       LAYER,    I M
                                                  AYER, AFFIRM
                                                         AFFIR
                                                               P THAT I AM OF THE AGE          GE OF F  18IDYEA
                                                                                                               E OR
                                                                                                            YEARS
T PO OLDER, AND THAT                   AT I AMT I AL SIGNING THIS WAIVER.
                                                 FREE
                                                 FRE
                                                 FREELY                                       C
                                                                                     ER. I CERT
                                                                                           T     ON THAT I HAVE
                                                                                             CERTIF
                                                                                             CERTIFY
                                    I D  ENTHAT I FULLY UNDERSTAND                 O    N
                                                                                      ICONTENT
                                                                                                                              AL
               READ THIS      S WAIVER,                                     AND ITS    CO           AND THAT THIS
               WAIVERO        N    F                                          T
                                                                   Y I AMCAWARE
                                                                                P                                          T I
                                                                     PA                                            DEN
                             CAN
                             CANNOT      BE MODIFIED ORALLY       LY        AW        THAT THIS IS A RELEASE     ASE OF
             I N
               LIABI
               LIAB T C AND A CONTRACT AND
               LIABILITY                                ND THAT I M IA
                                                                     AM SIGNING IT OF MY OWN          N FREE  F  I
                                                                                                                 WIL
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Case 5:22-cv-04486-BLF Document 70-10 Filed 08/17/22 Page 67 of 67
